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25

26                             UNITED STATES DISTRICT COURT
27                          SOUTHERN DISTRICT OF CALIFORNIA
28
                                        1
                       CLASS ACTION: FIRST AMENDED COMPLAINT
                                                                       CASE NO. 17-cv-2282
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 1    BLAISE WILLIAMS, individually,             CASE NO. 17-cv-2282-AJB-BGS
      and on behalf of all others similarly
 2    situated,
                                                                   CLASS ACTION
 3          Plaintiffs,
                                                 FIRST AMENDED COMPLAINT FOR:
 4    v.
 5    PROGRESSIVE COUNTY MUTUAL                        1. Breach of Contract;
      INSURANCE COMPANY,                               2. Tortious Interference with Contract;
 6    PROGRESSIVE CORPORATION,
      PROGRESSIVE CASUALTY                             3. Violations of Texas Insurance Code;
 7    INSURANCE COMPANY, and                           4. Violations of Texas Insurance Code;
      MITCHELL INTERNATIONAL, INC.;                    5. Breach of Implied Covenant of Good
 8                                                        Faith and Fair Dealing;
            Defendants.
 9                                                     6. Conspiracy; and
                                                       7. Declaratory and Injunctive Relief
10

11                                               DEMAND FOR JURY TRIAL
12

13
            Plaintiff BLAISE WILLIAMS, individually and on behalf of all other similarly
14
      situated individuals, hereby complains against Defendants PROGRESSIVE COUNTY
15
      MUTUAL       INSURANCE         COMPANY,          PROGRESSIVE       CORPORATION,          and
16
      PROGRESSIVE CASUALTY INSURANCE COMPANY, (collectively “Progressive”),
17
      and MITCHELL INTERNATIONAL, INC. (“Mitchell”); Progressive and Mitchell are
18
      collectively referred to herein as “Defendants,” and allege as follows:
19
                                  PRELIMINARY STATEMENT
20
            1.     Progressive bills itself as a fair and honest company. Progressive spends
21
      millions of dollars advertising its insurance. In those advertisements, Progressive holds
22
      itself out as an expert in the insurance industry, including automobile insurance, and touts
23
      itself as the “No. 1 commercial auto insurer.”
24
            2.     Progressive, however, is not fair and honest.
25
            3.     When Progressive determines that damage to an insured’s vehicle exceeds
26
      the cost to repair, the vehicle is deemed a “total loss,” and the insured is entitled to
27
      recover for the actual cash value of the vehicle at the time of the loss reduced by the
28
                                           2
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 1    applicable deductible.
 2          4.     Progressive has outsourced its duty to Mitchell to determine the actual cash
 3    value of its insureds’ total loss vehicles. Since at least 2010, Progressive and Mitchell
 4    have implemented a scheme to artificially deflate the value of “total loss claims.”
 5          5.     Progressive and Mitchell engage in unlawful, unfair, and deceptive business
 6    practices which facilitate and enable them to present lowball valuations to Progressive’s
 7    insureds once a vehicle has been declared a total loss.
 8          6.     In their scheme to unlawfully, unjustifiably, and artificially reduce the actual
 9    cash values paid to the insureds for their total loss vehicles, Progressive and Mitchell
10    employ methods contrary to their contractual obligations, the Texas Insurance Code, and
11    the common law.
12                                            PARTIES
13          7.     Plaintiff Blaise Williams is an individual over 18 years of age. He is, and at
14    all relevant times was, a resident of Houston, Texas.
15          8.     Defendants Progressive County Mutual Insurance Company (“Progressive
16    County Mutual”) and Progressive Casualty Insurance Company (“Progressive Casualty”)
17    are wholly owned and controlled affiliates/subsidiaries/alter-egos of The Progressive
18    Corporation (or “TPC”) (collectively the “Progressive Defendants” or “Progressive”).
19    Progressive County Mutual is a shell corporation with no office, phone number, website,
20    personnel, or operations of its own, but which is utilized by Progressive only on paper for
21    some of its Texas operations because of the favorable regulatory treatment Progressive
22    receives in Texas from operating under the guise of a county mutual company. The
23    Progressive Defendants, together with numerous other TPC affiliates/subsidiaries/alter-
24    egos involved in the insurance business nationwide, collectively operate as a single
25    insurance business or enterprise under the name “Progressive.” The Progressive
26    Corporation, which controls Progressive’s operations, is incorporated in Ohio and its
27    headquarters and principal place of business is located at 6300 Wilson Mills Road,
28    Mayfield Village, Ohio.
                                         3
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 1          9.     Defendant Mitchell International, Inc. provides third-party administrative
 2    services for Progressive including claims administration and adjusting services relating to
 3    the valuation of total loss vehicles for insureds covered by Progressive’s Texas Auto
 4    Policy. Mitchell is a Delaware Corporation. Mitchell’s headquarters and principal place
 5    of business is located at 6200 Greenwich Drive, San Diego, California.
 6                                JURISDICTION AND VENUE
 7          10.    This Court has subject matter jurisdiction over this case pursuant to 28
 8    U.S.C. § 1332(d) because at least one Class Member is diverse from at least one
 9    defendant, the amount in controversy exceeds $5,000,000, exclusive of interests and
10    costs, and there are more than 100 Class Members.
11          11.    This Court has personal jurisdiction over Defendant Mitchell because it is at
12    home in the forum state.
13          12.    Because TPC, Progressive County Mutual, Progressive Casualty, and TPC’s
14    numerous other insurance affiliates/subsidiaries are alter egos operating as one single
15    insurance entity/business (collectively “Progressive”), and represent themselves as such
16    to their insureds, their investors, the Securities and Exchange Commission (“SEC”), and
17    to the public at large, the California contacts for Progressive are attributable to the
18    individual Progressive Defendants. This Court has personal jurisdiction over Defendant
19    Progressive because it has had more than minimum contacts with the State of California,
20    has purposefully availed itself of the privilege of conducting business in this state, and
21    has purposefully directed and targeted business in this state, specifically by, but not
22    limited to, contracting with Mitchell, a California citizen, in California to provide claims
23    administration and adjusting valuation services for vehicles in Texas and elsewhere for
24    Progressive’s insureds who suffer total losses, which Mitchell performed in California.
25    The claims at issue in this lawsuit arise out of or relate to Progressive’s agreement with
26    Mitchell in California to use its valuation and adjusting services, Progressive’s
27    subsequent implementation of Mitchell’s valuation and adjusting system for its insureds,
28    including its Texas insureds such as Mr. Williams and the proposed class, and Mitchell’s
                                        4
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 1    services themselves, which took place in California. Progressive provides information
 2    concerning the total loss vehicles to Mitchell in California, which Mitchell then uses to
 3    perform its valuation and adjusting services in California, which Mitchell then sends to
 4    Progressive, and which Progressive then sends to the insureds. Progressive has a
 5    nationwide claims service operation, so it is unknown at this time where Progressive
 6    specifically performed its claims handling service at issue in this lawsuit,1 but given
 7    Mitchell’s location and operations in California and Progressive’s utilization of
 8    Mitchell’s California services in connection with handling all of its total loss claims since
 9    2010, the conduct at issue in this lawsuit was knowingly focused in California and
10    understood to take effect in California.
11          13.     Further, this Court has personal jurisdiction over Progressive because
12    Progressive is at home in California. Progressive’s continuous and systematic contacts
13    with California are exceptionally massive. Progressive has at least seventeen (17) offices
14    in California, hundreds, if not thousands, of employees in California, and does over a
15    billion dollars’ worth of business yearly in California. Progressive heavily advertises and
16    solicits business in California and avails itself of the privileges and opportunities of
17    conducting its insurance business in California. Progressive is domiciled in California
18    through at least three (3) of its wholly owned/controlled affiliates/subsidiaries/alter-egos
19    which are domiciled in or incorporated in California, including Pacific Motor Club,
20    Makaira Indica, L.P., and ASI Select Automobile Insurance Corp. In addition,
21    Progressive    also   operates    in   California   through     at   least    nineteen     (19)
22    subsidiaries/affiliates/alter-egos which are registered to do business in California with the
23    California Department of Insurance. These affiliates/subsidiaries/alter-egos, like all of the
24    other Progressive insurance entities, are 100% owned or controlled by TPC and operate
25    as part of the single Progressive enterprise. In other words, like Progressive’s operations
26    1
        Mr. Williams spoke with multiple claims adjusters who represented they were from
27    Progressive in connection with his total loss who were not based in Texas, including the
      initial Progressive adjuster.
28
                                         5
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 1    in Texas, Progressive utilizes shell corporations/alter-egos in California to conduct its
 2    business in this State.
 3          14.    Progressive—on its website, advertisements, communications, regulatory
 4    filings, etc.—explicitly represents and affirms it is a single insurance-selling enterprise
 5    operating in all fifty states. For example, TPC, which is publicly traded and thus subject
 6    to SEC reporting disclosures, under the “narrative of business” section in a 2012 SEC
 7    filing, states:
                     We offer a number of personal and commercial property-
 8
                     casualty insurance products primarily related to motor
 9                   vehicles… Auto insurance differs greatly by community
                     because legal requirements and decisions vary by state and
10
                     because, among other factors, traffic, law enforcement, cultural
11                   attitudes, insurance agents, medical services, and auto repair
                     services vary by community… We currently write personal
12
                     auto insurance in all 50 of the United States, the District of
13                   Columbia, and on an Internet-only basis in Australia. Our
                     personal auto management group is organized by state into
14
                     four geographic regions in the United States, plus a region for
15                   Australia. Each region is led by a general manager. We have a
                     separate manager for our California Agency organization…
16
                     We write the majority of our special lines products in all 50
17                   states. Our special lines management group is organized by
                     product and led by a general manager… A Group President
18
                     manages our Commercial Auto business, which offers products
19                   in 49 states… The Commercial Auto business is organized by
                     state, with product managers responsible for local
20
                     implementation. These state-level managers are led by two
21                   regional directors who report to a general manager… A Group
                     President manages our Claims business function, which is
22
                     organized into four groups. Three of the groups are based on
23                   geographic region, and one is a countrywide group that
                     provides various claims-related services, including catastrophe
24
                     response and special investigations. Each group is headed by a
25                   general manager, and each handles both Personal Lines and
26
                     Commercial Auto Claims… Our customer service groups,
                     located at call centers in Mayfield Village, Ohio; Austin,
27                   Texas; Tampa, Florida; Sacramento, California; Tempe,
28
                     Arizona; and Colorado Springs, Colorado, support our policy
                                         6
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 1                servicing, agency distribution, claims, and direct sales
                  operations.
 2
      https://www.sec.gov/Archives/edgar/data/80661/000119312513075784/d441077d10k.ht
 3    m.
 4          15.    Progressive has stated it decided to organize its business utilizing different
 5    subsidiaries/affiliates (many or all of which are shell corporations) for different
 6    geographic locations because auto insurance and accompanying regulation vary greatly
 7    from state to state, such that utilizing different corporate formats as the underwriter for its
 8    policies depending on the state can be favorable from a regulatory perspective. However,
 9    despite this seemingly elaborate structure, Progressive conducts all of its operations as a
10    single Progressive entity, with TPC in charge. In fact, many, if not all, of the specific
11    affiliates/subsidiaries/alter-egos identified on Progressive’s insureds’ policies are shell
12    companies that exist only on paper. For instance, TPC reported to the SEC that its Texas
13    affiliate, Defendant Progressive County Mutual, is “100% controlled” by TPC and has no
14    employees, office space, supplies, or equipment and does not engage in any activity or
15    operations.2 In fact, Progressive County Mutual specifically does not have authority to
16    conduct business, which is instead reserved to Progressive, and includes the following
17    authority:
18                    a. to be responsible for the management and the formulation of the
19                        business policies of Progressive County Mutual;
20                    b. to promote, develop and manage the business of Progressive County
21                        Mutual in an efficient and capable manner;
22

23
      2
        While Defendant TPC disclosed Defendant Progressive County Mutual is 100%
      controlled by TPC and all of Progressive County Mutual’s officers and directors were
24    employees of TPC, the technical corporate structure providing TPC 100% control over
25    Progressive County Mutual is, on paper, as follows: Defendant Progressive County
      Mutual is 100% controlled by Defendant Progressive Casualty through various
26    agreements and 100% owned by TPC. Progressive Casualty in turn is 100% owned and
27    controlled by TPC, thereby giving TPC 100% control over both Progressive Casualty and
      Progressive County Mutual.
28
                                         7
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 1                    c. to be responsible for collecting all premiums when due;
 2                    d. to furnish the office space, personnel, supplies, and equipment that
 3                       will be necessary for the effective and efficient operation of
 4                       Progressive County Mutual (note: Progressive County Mutual has no
 5                       employees and relies exclusively on employees of Progressive for its
 6                       operations); and
 7                    e. to pay all expenses incidental to the operation of Progressive County
 8                       Mutual.
 9          16.    Progressive conducts its insurance operations in Texas, as in other states, as
10    a single centralized entity, but chooses to adopt the corporate shell of Progressive County
11    Mutual in Texas because, according to Progressive’s regulatory disclosures, the county
12    mutual structure allows it to enjoy important exemptions from many Texas insurance
13    laws, including exemptions that allow Progressive considerable rate flexibility compared
14    to most of the other companies that operate in the state. As such, Progressive County
15    Mutual’s information with the Texas Department of Insurance (“TDI”) identifies TPC’s
16    principal address in Ohio as Progressive County Mutual’s sole address and Progressive
17    County Mutual’s sole contact number as the primary Progressive number 1-800-
18    PROGRESSIVE. Progressive County Mutual provides no Texas address or contact
19    information with the TDI and none could not be found from a search of Progressive
20    County Mutual on the internet. Progressive County Mutual currently identifies no officers
21    or directors with the TDI, but prior TDI records listed one of TPC’s corporate counsel as
22    a former Progressive County Mutual officer and that same individual was also identified
23    as an officer of TPC’s other shell corporations/affiliates/subsidiaries/alter-egos across the
24    nation, including Progressive Casualty.
25          17.    Progressive’s Texas operation and structure is similar to Progressive’s
26    operations elsewhere, such as in California. One of the corporate identities/alter-egos
27    Progressive adopts for its business in California is Pacific Motor Club, which is
28    domiciled and incorporated in California, but again provides the address for TPC’s
                                         8
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 1    principal office in Ohio as its only address with the California Department of Insurance.
 2    The California principal office address listed for Pacific Motor Club with the California
 3    Secretary of State is 10929 Disk Dr., Rancho Cordova, CA 95670-- the same address
 4    identified on Progressive’s www.progressive.com website for “Progressive’s Sacramento
 5    office.” A review of the approximately nineteen (19) Progressive entities registered to do
 6    business in California with the California Department of Insurance reveals that almost all
 7    of them use TPC’s principal office address in Ohio as their address, including Progressive
 8    Casualty. In fact, Progressive Casualty, in a filing with the California Department of
 9    Insurance, states that its federal income tax return is consolidated with TPC, Pacific
10    Motor Club, and fifty (50) other Progressive entities and that TPC is responsible for
11    Progressive Casualty’s deferred compensation, retirement, and postemployment benefit
12    plans. Progressive Casualty’s website listed with the California Department of Insurance
13    is www.progressive.com.
14          18.    Pacific Motor Club’s filings with the California Secretary of State show that
15    it shares officers and directors with other Progressive entities, including Progressive
16    Casualty, Progressive County Mutual, and TPC. Pacific Motor Club’s 2017 disclosure
17    with the California Secretary of State identifies Peter J. Albert as its secretary, Patrick S.
18    Brennan as its chief financial officer, and was submitted by its assistant secretary
19    Christina L. Crews. Progressive Casualty’s 2017 disclosure with the California Secretary
20    of State identifies Peter J. Albert as its secretary, Patrick S. Brennan as its chief financial
21    officer, and was submitted by its assistant secretary Christina L. Crews. 3 According to
22    TPC’s recent regulatory disclosures, Patrick S. Brennan is also TPC’s treasurer. Pacific
23    Motor Club lists Mark Niehaus as an officer, who is also identified as an officer of
24    Progressive Casualty in its regulatory disclosures. Further, Pacific Motor Club identifies
25    Susan Patricia Griffith and John P. Sauerland as its directors. Susan Patricia Griffith is
26

27
      3
       Peter J. Albert was also identified as Progressive County Mutual’s secretary in a filing
      with the Texas Department of Insurance.
28
                                         9
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 1    TPC’s president and chief executive officer and John P. Sauerland is TPC’s vice
 2    president and chief financial officer.
 3          19.      Reflecting this reality, TPC, which is publicly traded and controls
 4    Progressive,      includes    all    revenues    and     financials     from     its    shell
 5    corporations/affiliates/subsidiaries nationwide on its required SEC financials disclosures
 6    and likewise describes its business as offering insurance, even though its shell
 7    corporations/subsidiaries/affiliates are technically identified as the underwriters on the
 8    actual insurance policies it provides. For instance, TPC announced in an October 2017
 9    financial disclosure that it wrote $2,221,900,000 in net premiums in September 2017,
10    even though its policies with its insureds identify a specific affiliate/subsidiary/alter-ego
11    as the underwriter depending on the state in which they obtained the insurance, instead of
12    TPC itself.
13          20.      Similarly, Progressive, on its website, advertisements, and commercials
14    nationwide, refers to TPC and all of its insurance affiliates/subsidiaries simply as
15    Progressive. When an insured signs up for insurance with Progressive by going to its
16    website (www.progressive.com) or calling its number (1-800-PROGRESSIVE), the
17    insured is only informed it is signing up with Progressive and not any specific
18    affiliate/subsidiary because all of the information and communications refer to
19    Progressive and not some other specific affiliate or subsidiary. After an insured signs up
20    with Progressive, she receives communications from Progressive stating that she is now a
21    Progressive insured and detailing all of the benefits and highlights associated with her
22    newly-formed relationship with Progressive. She deals with Progressive when paying
23    premiums, when filing claims, and when any other instance arises necessitating
24    assistance or communication with her insurer. Mr. Williams, for instance, never spoke to,
25    communicated with, heard from, or had any contact with Progressive’s Texas shell
26    company/affiliate, Progressive County Mutual. Which makes sense, considering
27    Progressive County Mutual is a shell company existing only on paper.
28          21.      Similarly, on the www.progressive.com website, it states “Tricia Griffith,
                                          10
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 1    president and chief executive officer since July 2016, leads Progressive in our quest to
 2    become       U.S.       consumers’        #1      choice      for      auto         insurance.”
 3    https://www.progressive.com/prorgssice-insurance/company-introduction/.4 While Tricia
 4    Griffith is technically the CEO of TPC, it makes no distinction between TPC and
 5    Progressive while describing Ms. Griffith as the leader, president, and chief executive
 6    officer of Progressive. Describing the business, it continues “[h]eadquartered in the
 7    Cleveland suburb of Mayfield Village, Ohio, Progressive has more than 33,000
 8    employees in almost 400 offices throughout the country.” Id. Further, it explains “[i]n the
 9    early 2000s, Progressive changed its claims focus to provide a better overall experience
10    for every party involved in a claim, including the customer and the body shop. This focus
11    helped us launch our concierge level of claims service — another industry first — in
12    2003. With this level of service, Progressive oversees all elements of the claims/repair
13    process     on      behalf     of     drivers     involved      in     accidents….”          See
14    https://www.progressive.com/progressive-insurance/history/.
15          22.    Further, even prospective Progressive employees are told they will be
16    working for a single Progressive entity, as seen on Progressive’s advertisement for its
17    significant corporate office in California for potential job-seekers. The reader is told of
18    “Progressive’s Sacramento office” where “You can’t beat the weather — or the work
19    environment.” https://www.progressive.com/careers/locations/sacramento/. It describes
20    how they “stay healthy, eat well, and appreciate culture with an on-site fitness center,
21    cafeteria, and artwork from Progressive’s expansive corporate art collection. With a little
22    over 400 employees, Progressive people here get to enjoy a small office feel with big
23    corporate advantages.” Id. Moreover, it explains the “Sacramento office is home to a
24    wide variety of corporate, claims, and contact center jobs, including bilingual
25    opportunities. Specific positions include product managers, analysts, recruiters, human
26

27
      4
       As previously referenced, Patricia Griffith is identified as a director of Progressive’s
      California alter-ego, Pacific Motor Club.
28
                                         11
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 1    resources representative, customer service representatives, sale representatives, claims
 2    adjusters, and legal professionals. Learn more about their careers and other Progressive
 3    teams.” Id.5
 4           23.     In addition to a main corporate office in Sacramento, Progressive states it
 5    has sixteen (16) claims locations in California. Describing working at a Progressive claim
 6    center, it states “[w]orking in over 250 locations around the country, these dedicated
 7    Progressive people help ensure that our customers are able to get back on the road after
 8    the unexpected happens… When you take on a career at one of our claims offices, you
 9    truly become the face of Progressive. The talented, reassuring, and service-oriented
10    employees in these roles help handle claims from start to finish, from accident to repair.”
11    https://www.progressive.com/careers.locations/claims-offices/. Progressive’s massive,
12    continuous, and systematic California presence makes sense, considering the fact that it
13    wrote $1,310,923,838 in insurance premiums in California in 2016.
14           24.     As such, it is clear that Progressive, which consists of TPC and all of its
15    different iterations/shells which TPC owns and controls nationwide, including
16    Defendants Progressive County Mutual and Progressive Casualty, is one single
17    enterprise/entity that is at home in California.
18           25.     Venue in this judicial district is proper pursuant to 28 U.S.C. §1391(b)(1)
19    because, for venue purposes, Mitchell and Progressive are residents of this state and
20    judicial district. Moreover, venue in this judicial district is proper pursuant to 28 U.S.C.
21    §1391(b)(2) because a substantial part of the events or omissions giving rise to this action
22    occurred in this district.
23                   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
24           26.     Attached to this Complaint as Exhibit A is a true and correct copy of
25
      5
        The address for Progressive’s Sacramento corporate office is the same California
26    address listed with the California Secretary of State for Pacific Motor Club, Progressive’s
27    wholly owned and controlled entity/alter-ego that is incorporated and domiciled in
      California.
28
                                          12
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 1    Progressive’s Texas Auto Policy setting forth the terms of Progressive’s insuring
 2    agreement (“the Policy” or “Texas Policy”).
 3             27.   At all relevant times, the Policy included the following relevant clauses:
 4               INSURING AGREEMENT - COMPREHENSIVE
                 COVERAGE
 5
                 If you pay the premium for this coverage, we will pay for sudden,
 6               direct and accidental loss to a:
                 1. covered auto, including an attached trailer; or
 7               2. non-owned auto;
                 and its custom parts or equipment, that is not caused by
 8               collision.
 9               A loss not caused by collision includes:
                 1. contact with an animal (including a bird);
10               2. explosion or earthquake;
                 3. fire;
11               4. malicious mischief or vandalism;
                 5. missiles or falling objects;
12               6. riot or civil commotion;
                 7. theft or larceny;
13               8. windstorm, hail, water or flood; or
                 9. breakage of glass not caused by collision. 6
14
                 LIMITS OF LIABILITY
15
                 1. The limit of liability for loss to a covered auto, non-owned
16               auto, or custom parts or equipment is the lowest of:
                 a. the actual cash value of the stolen or damaged property at the
17               time of the loss reduced by the applicable deductible;
                 b. the amount necessary to replace the stolen or damaged property
18               reduced by the applicable deductible;
                 c. the amount necessary to repair the damaged property to its pre-
19               loss condition reduced by the applicable deductible; or
                 d. the Stated Amount shown on the declarations page for that
20               covered auto.
                 …
21               2. Payments for loss to a covered auto, non-owned auto, or
                 custom parts or equipment are subject to the following
22               provisions:
                 …
23               f. The actual cash value is determined by the market7 value, age,
                 and condition of the vehicle at the time the loss occurs.
24
                 PAYMENT OF LOSS
25
                 We may, at our option:
26
      6
27        Ex. A at p. 17 (emphasis in original).
      7
          Ex. A at pp. 21–22 (emphasis in original).
28
                                           13
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 1               1. pay for the loss in money; or
                 2. repair or replace the damaged or stolen property. 8
 2
                 SETTLEMENT OF CLAIMS
 3
                 We may use estimating, appraisal, or injury evaluation systems to
 4               assist us in adjusting claims under this policy and to assist us in
                 determining the amount of damages, expenses, or loss payable under
 5               this policy. Such systems may be developed by us or a third party
                 and may include     computer software, databases, and specialized
 6               technology. 9
 7
               28.   In the Policy, Progressive represents that the actual cash value is determined
 8
      by the market value, age, and condition of the vehicle at the time the loss occurs.
 9
               29.   The actual cash value offered to Progressive’s insureds is not, however,
10
      based on the market value, age, and condition of the vehicle at the time the loss occurs.
11
               30.   Instead, Progressive and Mitchell employ a system to calculate actual cash
12
      value in a manner which allows them to reduce the calculated value they pay for “total
13
      loss vehicles.”
14
               31.   Prior to 2010, Progressive determined the actual cash value of total loss
15
      vehicles in Texas by using the National Automobile Dealers Association (“NADA”)
16
      Guidebook.
17
               32.   In 2010, Progressive began using a proprietary product called Work Center
18
      Total Loss (“WCTL”) licensed from Mitchell to determine the “actual cash values” of
19
      total loss vehicles.
20
               33.   The WCTL methodology is different from the methodology used by NADA.
21
      WCTL provides total loss valuations automatically based on purported comparable
22
      vehicle data contained in its computer system and loss vehicle data provided to it by
23
      Progressive inspectors, called Manage Repair Representatives (“MRR”), through a
24
      computer interface.
25
               34.   Included among the data provided by Progressive’s MRRs to Mitchell’s
26
      8
27        Ex. A at p. 22 (emphasis in original).
      9
          Ex. A at pp. 28–29 (emphasis in original).
28
                                           14
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 1    WCTL system are the Vehicle Identification Number (VIN)—which includes the vehicle
 2    make, model, configuration (e.g. extras), and year—as well as the mileage and license
 3    plate number.
 4          35.    Comparable vehicles referenced by Mitchell’s WCTL may be in a wide
 5    variety of conditions.
 6          36.    Mitchell’s WCTL system has no information as to the condition of the
 7    comparable vehicles and does not take such information into consideration in
 8    determining the base price.
 9          37.    Progressive’s MRRs also assign a numerical value between one (1) and five
10    (5) to reflect the overall vehicle condition as to each of thirteen (13) characteristics listed
11    in the Valuation Report, including Interior, Exterior, Mechanical, and Tire.
12          38.    WCTL uses weighted averages of the condition values to arrive at an overall
13    condition score between one (1) and five (5).
14          39.    Although Progressive’s records contain descriptions of the vehicles’
15    conditions which Progressive MRRs consider and use in the assignment of the overall
16    condition value, Mitchell’s WCTL computer system does not take this information into
17    account, relying only on the numerical condition characteristics when reaching its value
18    determination.
19          40.    Relying on the loss valuation numerical value only, Mitchell’s WCTL
20    system locates vehicles comparable to the loss vehicle by searching a collection of
21    vehicles being offered for sale by a dealer located as close as possible to the loss
22    vehicle’s zip code.
23          41.    A marketing presentation by Mitchell to prospective insurance company
24    clients stated that the average market value as determined by WCTL was $6,780, as
25    compared to an average value of $7,680 under NADA.
26          42.    Thus, Mitchell’s WCTL system assigns actual cash values for total loss
27    vehicles in an amount that is significantly lower than those assigned by published and
28    publicly available valuation models like NADA.
                                         15
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 1          43.    Progressive’s own tracking of its total loss claims adjusted by Mitchell under
 2    Mitchell’s WCTL shows that from May 2012 to April 2014, an average of seventy-eight
 3    percent (78%) of total loss vehicles received a downward condition adjustment as
 4    compared to only eighteen percent (18%) that received an upward adjustment. The
 5    average condition adjustment for that period was $301.
 6          44.    At all relevant times, Defendants engaged in a system of artificially reducing
 7    and deflating the value of declared “total loss vehicles” (vehicles where an election is
 8    made to forego any vehicle repair) in order to pay first party insureds less than the actual
 9    pre-loss value of the total loss vehicle. At the time it entered into the insurance contacts at
10    issue in this case, Progressive was aware, but failed to disclose to plaintiffs, that its
11    WCTL system would yield lower values for total loss vehicles.
12          45.    For example, Mitchell’s WCTL system has no information as to the actual
13    condition of comparable vehicles.
14          46.    Progressive and Mitchell’s valuation and claims adjustment process uses
15    unjustified and unwarranted methods to artificially deflate vehicles’ valuations through
16    the use of false, fabricated, and deceptive representations as to comparable vehicles and
17    unwarranted “adjustments” to comparable vehicles in the Mitchell valuation reports with
18    no basis in fact or reality. These include, but are not limited to, the use of unjustified
19    “projected sold adjustments” and adjustments to comparable vehicles based on alleged
20    specifications and upgrades which in fact do not exist.
21          47.    Progressive knows that its insureds facing total vehicle loss claims are most
22    often also coping with injuries, lost time from work, and loss of their only means of
23    transportation. As a result of these extenuating circumstances, Progressive’s insureds are
24    often at a severe disadvantage when it comes to settling claims under their policies.
25                               PLAINTIFF BLAISE WILLIAMS
26          48.    On September 6, 2016, Blaise Williams purchased a 2016 GMC Yukon for
27    $48,050.00, before tax, title, and license.
28          49.    At all relevant times, Mr. Williams had procured a Progressive Texas Auto
                                         16
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 1    Policy that covered the 2016 GMC Yukon and included full comprehensive coverage for
 2    his 2016 GMC Yukon.
 3          50.    The terms of Progressive’s Texas Auto Policy with Mr. Williams are not
 4    individualized, unique, or specific to Mr. Williams. Rather, Mr. Williams’ Texas Auto
 5    Policy is the same standard form Texas Auto Policy that Progressive uses for all of its
 6    Texas insureds with comprehensive coverage. Progressive does not offer its Texas
 7    insureds the ability to craft a specific or unique Texas Auto Policy which changes or
 8    differs from the standard terms of Progressive’s Texas Auto Policies. As such, all of
 9    Progressive’s insureds who have total losses requiring determination of the actual market
10    value of their total loss vehicles by using Mitchell’s services involved Progressive’s
11    generic Texas Auto Policies which contained the same terms as those in Mr. Williams
12    Texas Auto Policy.
13          51.    One of the primary provisions of Progressive’s standard Texas Auto Policy
14    is the requirement that Progressive pay its Texas insureds, such as Mr. Williams and the
15    proposed Class, actual market value for their covered total loss vehicles. Mitchell had
16    knowledge of this provision because it specifically marketed to Progressive and
17    contracted with Progressive to perform this exact function required by the standard
18    contractual provision, which was to determine the actual market value for Progressive’s
19    Texas insureds’ total loss vehicles. Mitchell has been performing the function required by
20    this standard contractual provision for Progressive’s Texas insureds total loss vehicles
21    under the same Texas policy provisions since 2010. Based upon information and belief,
22    Mitchell has performed this service for over one-hundred-thousand (100,000) Progressive
23    Texas insureds since 2010. As such, Mitchell had knowledge of the contractual provision
24    requiring Progressive to pay its Texas total loss insureds the actual market value for their
25    total loss vehicles.
26          52.    Since 2010, Mitchell has been directly involved in adjusting claims made by
27    Progressive’s Texas insureds and determining the actual cash values for Progressive’s
28    Texas insureds who have submitted claims for total losses and who were, thus, entitled to
                                         17
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 1    actual cash value for their vehicles. Mitchell received information from Progressive
 2    regarding the Texas insureds’ total loss vehicles. Based upon this information, and with
 3    knowledge that Progressive was obligated to pay such insureds the actual cash value for
 4    such total loss vehicles, Mitchell performed valuation and claim adjustment services to
 5    determine the actual cash value for each vehicle based on Mitchell’s WCTL, and issued a
 6    report which purportedly formed the basis for its determination.
 7           53.   On or about August 26, 2017, Mr. Williams’ 2016 GMC Yukon sustained a
 8    sudden, direct, and accidental loss resulting from Hurricane Harvey and the associated
 9    severe flooding.
10           54.   Shortly after the hurricane, Mr. Williams filed a claim for the property
11    damages relating to the 2016 GMC Yukon.
12           55.   Progressive accepted the claim by Blaise Williams.
13           56.   On or about September 20, 2017, Progressive inspected the 2016 GMC
14    Yukon and notified him the vehicle had been declared a “total loss.”
15           57.   When Mr. Williams asked Progressive how it determined his vehicle to be a
16    “total loss,” Progressive stated that it was declaring any vehicle that got any amount of
17    water into it from Hurricane Harvey to be a “total loss.”
18           58.   Approximately four to five days later, Progressive notified Mr. Williams that
19    the vehicle’s condition was rated three on a scale from one to three for all aspects of the
20    car.
21           59.   Progressive told Mr. Williams that, based on Mitchell’s valuation system,
22    the actual cash value of the 2016 GMC Yukon at the time of the loss was $38,109.27 and
23    made a full and final offer to settle the claim for $40,341.34, which represented the
24    valuation of $38,109.27, less the deductible of $245, plus taxes and fees.
25           60.   After Mr. Williams questioned the valuation, a Progressive supervisor
26    contacted Mr. Williams on October 1, 2017 and told him that Mitchell had checked and
27    verified that the valuation of his vehicle was true and correct.
28           61.   Mr. Williams was also told that such valuations were dispositive as to the
                                          18
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 1    amount Progressive was obligated to pay and that Progressive could not change
 2    Mitchell’s valuations. When discussing the valuation with Progressive’s claims adjusters,
 3    Progressive relayed Mr. Williams’ comments and questions to Mitchell, Mitchell then
 4    provided responses to Mr. Williams’ comments and questions to Progressive, and
 5    Progressive then relayed Mitchell’s responses back to Mr. Williams.
 6          62.   Using Mitchell’s valuation system again, Progressive made a final offer to
 7    settle Mr. Williams’ claim in the amount of $42,112.17, based on Defendants’ valuation
 8    of $39,775.92, taxes in the amount of $2,486, fees in the amount of $95.25, minus the
 9    deductible of $245.
10          63.   In fact, the actual cash value – based on the market value, age, and condition
11    – of Mr. Williams’s vehicle at the time of the flood was $44,025, significantly higher
12    than the amount Progressive paid on Mr. Williams’s claim.
13          64.   The Mitchell valuation used by Progressive was fundamentally flawed
14    because it included false adjustments to the comparable vehicles identified in Mitchell’s
15    valuation report. Mitchell and Progressive knew or should have known that the cash
16    value assigned to Plaintiff’s vehicle did not reflect the actual market value, age, and
17    condition of the vehicle because the specific conditions of the comparable vehicles could
18    be verified through an online search for those vehicles by VIN number.
19          65.   Mitchell’s determination of the actual cash value was communicated,
20    unaltered, sent to Progressive’s Texas total loss insureds, and represented as the actual
21    cash value of their total loss vehicles which Progressive would pay pursuant to the terms
22    of their respective Texas Auto Policy. Attached as Exhibit B are the Mitchell reports that
23    Mitchell created for Mr. Williams’ total loss vehicle supporting its determinations of the
24    actual market value for Mr. Williams’ total loss vehicle, and the amount that Mr.
25    Williams was entitled to receive pursuant to the terms of his Texas Auto Policy with
26    Progressive, identified as “Settlement Value” or “Final Value.”
27          66.   The “Settlement Value” or “Final Value” amount was determined by
28    subtracting from Mitchell’s market value determination the deductible of $245.00
                                        19
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 1    specific to Mr. Williams’ Texas Auto Policy. Mitchell had knowledge, not only of the
 2    standard provisions requiring Progressive to pay Mr. Williams the actual cash value for
 3    his vehicle, but also of the specific terms of Mr. Williams’ contract with Progressive, as
 4    evidenced by Mitchell’s knowledge of Mr. Williams’ $245.00 deductible and its use of
 5    the term “Settlement Value.”
 6          67.    As previously referenced, Mitchell’s valuations do not represent the actual
 7    cash value of Mr. Williams’ total loss vehicle and, in fact, are based on
 8    misrepresentations, falsehoods, and unsupported/unwarranted adjustments. For example,
 9    many of the comparable vehicles in Mitchell’s reports could not be located after a
10    diligent search and Progressive and Mitchell refused to provide any information on such
11    vehicles demonstrating the source or veracity of such information. These include
12    comparable numbers 1, 2, 3, and 5 on the first valuation report. Comparable numbers 3
13    and 5 included information about the purported dealership where such information was
14    obtained, but Mr. Williams was unable to locate those vehicles on the purported
15    dealership websites. Mr. Williams further called these dealerships to inquire about such
16    vehicles and learned that the dealerships had no records of such vehicles.
17          68.    If Progressive and Mitchell had made accurate determinations about the
18    actual cash value of the vehicle, Mr. Williams would have recovered a significantly
19    higher amount from Progressive pursuant to the automobile Policy.
20          69.    Progressive and Mitchell operate on an unequal playing field, compared to
21    its customers and insureds, including Mr. Williams.
22          70.    Progressive contracted to pay Mr. Williams the actual cash value for his total
23    loss vehicle, but in reality, Progressive worked with Mitchell in implementing a system
24    designed to pay him less than the actual cash value.
25                              CLASS ACTION ALLEGATIONS
26          71.    Pursuant to FRCP 23(a), (b)(2) and (b)(3), Plaintiff brings this action on his
27    own behalf and on behalf of a proposed Class of all other similarly situated persons in
28    Texas consisting of:
                                        20
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 1                 All insureds under Progressive’s Texas Auto Policy whose vehicles
 2                 were declared total losses by Progressive and were valued utilizing
 3                 Mitchell’s WCTL system (“the Class”)
 4          72.    Excluded from the Class are: (a) federal, state, and/or local governments,
 5    including, but not limited to, their departments, agencies, divisions, bureaus, boards,
 6    sections, groups, counsels, and/or subdivisions; (b) any entity in which any Defendant
 7    has a controlling interest, to include, but not limited to, their legal representative, heirs,
 8    and successors; (c) all persons who are presently in bankruptcy proceedings or who
 9    obtained a bankruptcy discharge in the last three years; and (d) any judicial officer in the
10    lawsuit and/or persons within the third degree of consanguinity to such judge.
11          73.    Upon information and belief, the Class consists of thousands of consumers.
12    Accordingly, it would be impracticable to join all Class Members before the Court.
13          74.    There are numerous and substantial questions of law or fact common to all
14    of the members of the Class and which predominate over any individual issues. Included
15    within the common question of law or fact to be shown through common evidence are:
16                 a.     Whether Progressive’s Texas Policy required it to pay actual cash
17                        value to its Texas insureds;
18                 b.     Whether Progressive failed to pay actual cash value to its Texas
19                        insureds;
20                 c.     Whether Progressive’s contract disclosed all relevant information
21                        relating to its calculation of actual cash value of vehicles declared a
22                        total loss;
23                 d.     Whether Mitchell’s WCTL system’s valuation represents the actual
24                        cash value of vehicles at the time of the loss;
25                 e.     Whether Progressive’s Texas Policy misrepresents a material fact or
26                        policy provision;
27                 f.     Whether Progressive’s Texas Policy fails to disclose material facts;
28                 g.     Whether Progressive’s Texas Policy is misleading with respect to
                                         21
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 1                        material facts;
 2                 h.     Whether Progressive and Mitchell had an agreement or understanding
 3                        on how to calculate the actual cash value of vehicles declared a total
 4                        loss; and
 5                 i.     Whether Progressive and Mitchell had an agreement or understanding
 6                        to artificially assess the market value, age and condition of a vehicle
 7                        at the time of loss in order to reduce the actual cash value.
 8          75.    Plaintiff’s claims are typical of the claims of Class Members, in that he
 9    shares the above-referenced facts and legal claims or questions with Class Members,
10    there is a sufficient relationship between the damage to Plaintiff and Defendants’ conduct
11    affecting Class Members, and Plaintiff has no interests adverse to the interests other Class
12    Members.
13          76.    Plaintiff will fairly and adequately protect the interests of Class Members
14    and has retained counsel experienced and competent in the prosecution of complex class
15    actions.
16          77.    Defendants have acted or refused to act on grounds generally applicable to
17    the Class, thereby making appropriate final injunctive relief or corresponding declaratory
18    relief with respect to the Class as a whole.
19          78.    The questions of law and fact common to the Class Members predominate
20    over any questions affecting only individual members, if any.
21          79.    Defendants’ use of valuation systems to artificially reduce the actual cash
22    value of total loss vehicles will be shown through common evidence.
23          80.    A class action is superior to other methods for the fair and efficient
24    adjudication of this controversy because (1) there has been no interest shown of members
25    of the class in individually controlling the prosecution of separate actions; (2) Plaintiff is
26    aware of no other litigation concerning the controversy already commenced by any
27    member of the class; (3) it is desirable to concentrate the litigation in this forum; and (4)
28    there are no difficulties likely to be encountered in the management of this class action.
                                         22
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 1                                   FIRST CAUSE OF ACTION
 2                          BREACH OF CONTRACT – PROGRESSIVE
 3          81.      Plaintiff incorporates each of the foregoing paragraphs as though fully set
 4    forth herein, and further alleges as follows.
 5          82.      Progressive agreed to pay Plaintiff and Class Members for the actual cash
 6    value determined by the market value, age, and condition of the vehicle at the time the
 7    loss occurred if it was deemed a total loss vehicle by Progressive.
 8          83.      Progressive breached this contract by failing to pay the actual cash value.
 9          84.      As a result, Plaintiff and Class Members were paid for their claims in an
10    amount less than the actual cash value, as contractually required.
11          WHEREFORE, Plaintiff prays for relief as set forth below.
12                                  SECOND CAUSE OF ACTION
13             TORTIOUS INTERFERENCE WITH CONTRACT – MITCHELL
14          85.      Plaintiff incorporates each of the foregoing paragraphs as though fully set
15    forth herein, and further alleges as follows.
16          86.      To the extent Mitchell was not acting as an agent of Progressive and was a
17    stranger to the contract between Williams and Progressive, Plaintiff pleads in the
18    alternative that Mitchell willfully and intentionally interfered with the contract by falsely
19    representing the actual cash value of vehicles in its WCTL system such that Plaintiff and
20    Class Members would never be paid based on actual market value, age, and condition of
21    the vehicle.
22          87.      The Texas Policy was a valid contract between Plaintiff and Class Members
23    and Progressive. Under the Texas Policy, Progressive agreed to pay Plaintiff and Class
24    Members for the actual cash value of their covered autos determined by the market value,
25    age, and condition of the vehicles at the time the loss occurred if they were declared total
26    loss vehicles.
27          88.      Mitchell knew about this Policy between Plaintiff and Class Members and
28    Progressive because it provided valuation services under its WCTL system.
                                          23
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 1          89.    In licensing or otherwise contracting the use of its WCTL system to
 2    Progressive, Mitchell had knowledge of the terms of the Policy between Plaintiff and
 3    Class Members and Progressive or had knowledge of facts and circumstances that would
 4    lead a reasonable person to know about the Texas Auto Policy, including its provisions
 5    for actual cash value on total loss vehicles.
 6          90.    As to Plaintiff specifically, Mitchell knew about the make, model, condition
 7    and location of the vehicle insurance under the Progressive Policy. See Ex. A.
 8          91.    Mitchell’s WCTL system was intentionally designed to disrupt Progressive’s
 9    obligation under the Policy to pay actual cash value. Mitchell’s WCTL system further
10    contributed to or induced Progressive’s failure to pay Plaintiff and Class Members the
11    actual cash value for total loss vehicles and hindered the ability of Plaintiff and Class
12    Members to receive the actual value for total loss vehicles.
13          92.    For purposes of this Second Cause of Action only and consistent with the
14    provisions of Fed. R. Civ. Proc. 8 (a) (3), Plaintiff alleges that Mitchell neither held the
15    authority to bind Progressive nor otherwise was its agent.
16          93.    Mitchell took an active part in interfering with Progressive’s promise to pay
17    the actual cash value with a total loss vehicle, proximately causing harm to Plaintiff and
18    Class Members.
19          94.    As a proximate result of Mitchell’s wrongful conduct, Plaintiff and Class
20    Members were damaged and denied the actual cash value for the total loss vehicles.
21          WHEREFORE, Plaintiff prays for relief as set forth below.
22                                  THIRD CAUSE OF ACTION
23             VIOLATIONS OF TEXAS INSURANCE CODE – PROGRESSIVE
24          95.    Plaintiff incorporates each of the foregoing paragraphs as though fully set
25    forth herein, and further alleges as follows.
26          96.    Plaintiff and Class Members are “persons” within the meaning of the
27    Insurance Code § 541.002(2).
28          97.    Plaintiff and Class Members were injured by Progressive’s unfair practices
                                         24
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 1    in the business of insurance. Tex. Ins. Code § 541.151.
 2          98.    Progressive committed these violations of the Texas Insurance Code
 3    knowingly. Tex. Ins. Code § 541.152(b).
 4          99.    Progressive incorporated into the Policy the requirements of the Texas
 5    Insurance Code, Sections 541.060 and 541.061 relating to unfair and deceptive actions or
 6    practice in the business of insurance.
 7          100. Progressive breached Texas Insurance Code Section 541.060(a) by:
 8                 (1)    misrepresenting to Plaintiff and Class Members a material fact or
 9                        policy provision relating to coverage at issue;
10                 (2)    failing to attempt in good faith to effectuate a prompt, fair, and
11                        equitable settlement of:
12                        (A)   Claims with respect to which the insurer's liability has become
13                              reasonably clear.
14          101. Progressive breached Texas Insurance Code Section 541.061 by:
15                 (1)    making an untrue statement of material fact;
16                 (2)    failing to state a material fact necessary to make other statements
17                        made not misleading, considering the circumstances under which the
18                        statements were made; and
19                 (3)    making a statement in a manner that would mislead a reasonably
20                        prudent person to a false conclusion of a material fact.
21          102. Progressive misrepresented that it would pay actual cash value and failed to
22    state the material fact that the estimates, appraisal, and insurance evaluation systems used
23    by Progressive in the settlement of claims were structured to artificially reduce the model
24    value, age, and condition of the vehicles at the time of the loss.
25          103. As a proximate result of Progressive’s wrongful conduct, Plaintiff and Class
26    Members were damaged and denied the actual cash value for the total loss vehicles.
27          WHEREFORE, Plaintiff prays for relief as set forth below.
28                                 FOURTH CAUSE OF ACTION
                                          25
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 1                VIOLATIONS OF TEXAS INSURANCE CODE – MITCHELL
 2           104. Plaintiff incorporates each of the foregoing paragraphs as though fully set
 3    forth herein, and further alleges as follows.
 4           105. Plaintiff and Class Members are “persons” within the meaning of Texas
 5    Insurance Code § 541.002(2).
 6           106. Mitchell is a “person” within the meaning of Texas Insurance Code §
 7    541.002(2) because Mitchell is an adjuster as that term is defined in Texas Insurance
 8    Code § 541.002(2).
 9           107. Plaintiff and Class Members were injured by Mitchell’s unfair practices in
10    the “business of insurance.” Tex. Ins. Code § 541.151. “Not only does the statutory
11    definition list ‘adjuster’ as one of the class of persons that engages in the “business of
12    insurance,” but the Texas Supreme Court has specifically held that the “business of
13    insurance” includes the investigation and adjustment of claims and losses.” Rankin Rd.,
14    Inc. v. Underwriters at Lloyds of London, 744 F. Supp. 2d 630, 633–34 (S.D. Tex. 2010)
15    (citing Vail v. Texas Farm Bur. Mut. Ins. Co., 754 S.W.2d 129, 132 (Tex.1988); Aetna
16    Casualty & Surety Co. v. Marshall, 724 S.W.2d 770, 771–72 (Tex.1987)) (internal
17    quotations omitted). This is precisely the task Mitchell was hired to perform, and did
18    perform unfairly, for Progressive in connection with total loss vehicles, including but not
19    limited to Plaintiff’s total loss vehicle.
20           108. Thus, Mitchell has engaged in the business of insurance, as defined by the
21    Texas Insurance Code, by servicing Progressive’s Texas Auto Policies as an investigator
22    and insurance adjuster to adjust the claims and losses in connection with total loss
23    vehicles.
24           109. Mitchell breached Texas Insurance Code Section 541.060(a) by:
25                  (1)    misrepresenting to Plaintiff and Class Members a material fact or
26                         policy provision relating to coverage at issue;
27                  (2)    failing to attempt in good faith to effectuate a prompt, fair, and
28                         equitable settlement of:
                                           26
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 1                         (A)   Claims with respect to which the insurer's liability has become
 2                               reasonably clear.
 3       110.      Mitchell breached Texas Insurance Code Section 541.061 by:
 4                 (1)     making an untrue statement of material fact;
 5                 (2)     failing to state a material fact necessary to make other statements
 6                         made not misleading, considering the circumstances under which the
 7                         statements were made; and
 8                 (3)     making a statement in a manner that would mislead a reasonably
 9                         prudent person to a false conclusion of a material fact.
10          111. As more fully explained above, Mitchell misrepresented the actual cash
11    value of total loss vehicles and failed to state the material fact that its WCTL system was
12    structured to artificially reduce the model value, age, and condition of the vehicles at the
13    time of the loss.
14          112. As a proximate result of Mitchell’s wrongful conduct, Plaintiff and Class
15    Members were damaged and denied the actual cash value for the total loss vehicles.
16          WHEREFORE, Plaintiff prays for relief as set forth below.
17                                   FIFTH CAUSE OF ACTION
18                  BREACH OF IMPLIED COVENANT OF GOOD FAITH
19                            AND FAIR DEALING – PROGRESSIVE
20          113. Plaintiff incorporates each of the foregoing paragraphs as though fully set
21    forth herein, and further alleges as follows.
22          114. Texas law recognizes a duty of good faith and fair dealing in the insurance
23    context. Arnold v. Nat’l Cnty. Mut. Fire Ins. Co., 725 S.W.2d 165, 167 (Tex. 1987). The
24    duty arises from the special relationship that is created by the contract between the
25    insurer and the insured. Id.; see also Viles v. Security Nat’l Ins. Co., 788 S.W.2d 566, 567
26    (Tex. 1990) (recognizing that the duty arises “not from the terms of the insurance
27    contract, but from an obligation imposed in law” as a result of the special relationship).
28          115. At all times herein mentioned, Progressive knew, or in the exercise of good
                                           27
                          CLASS ACTION: FIRST AMENDED COMPLAINT
                                                                                  CASE NO. 17-cv-2282
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 1    faith reasonably should have known that Plaintiff and Class Members were legally
 2    entitled to recover the actual cash value of their vehicles, and that Progressive was
 3    obligated to provide Plaintiff and Class Members with the actual cash value for vehicles
 4    declared a total loss.
 5             116. Once it declared Plaintiff and Class Member’s vehicles a total loss,
 6    Progressive knew that its liability for the actual cash value was reasonably clear under the
 7    terms of the Policy.
 8             117. Progressive denied and delayed payment when liability was reasonably
 9    clear.
10             118. As a proximate result of Progressive’s wrongful conduct, Plaintiff and Class
11    Members were damaged and denied the actual cash value for the total loss vehicles.
12             WHEREFORE, Plaintiff prays for relief as set forth below.
13                                   SIXTH CAUSE OF ACTION
14                      CONSPIRACY – PROGRESSIVE AND MITCHELL
15             119. Plaintiff incorporates each of the foregoing paragraphs as though fully set
16    forth herein, and further alleges as follows.
17             120. Progressive and Mitchell were members of a combination of two or more
18    persons acting to further the common purpose of a conspiracy to implement a system to
19    artificially reduce the actual cash value of vehicles declared total losses.
20             121. The object of the combination was to accomplish the unlawful purpose of
21    paying Plaintiff and Class Members less than the actual cash value for their total loss
22    vehicles that they were lawfully and rightfully owed.
23             122. In the alternative, the object of the combination was to accomplish the
24    lawful purpose of estimating and appraising vehicles declared total losses by unlawful
25    means, including use of the fraudulent WCTL system.
26             123. Progressive and Mitchell had an agreement or understanding about how to
27    artificially reduce the actual cash value of vehicles declared total losses.
28             124. Both Progressive and Mitchell, in developing, licensing, and utilizing the
                                          28
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 1    WCTL system, committed unlawful and overt acts in furtherance of their conspiracy. In
 2    addition, Progressive and Mitchell committed the overt act of misrepresenting the actual
 3    cash value of the damaged and total loss vehicles.
 4          125. For purposes of this Sixth Cause of Action only and consistent with the
 5    provisions of Fed. R. Civ. Proc. 8 (a) (3), Plaintiff alleges that Mitchell neither held the
 6    authority to bind Progressive nor otherwise was its agent and was a stranger to the
 7    contract between Progressive and Plaintiff.
 8          126. As a proximate result of Progressive’s and Mitchell’s wrongful conduct,
 9    Plaintiff and Class Members were damaged and denied the actual cash value for the total
10    loss vehicles.
11          WHEREFORE, Plaintiff prays for relief as set forth below.
12                                      PRAYER FOR RELIEF
13          Plaintiff respectfully prays for relief as follows:
14          1.     For an order certifying the proposed class;
15          2.     For an order finding and declaring that Progressive’s and Mitchell’s acts and
16    practices as challenged herein are unlawful, unfair and fraudulent;
17          3.     For an order preliminarily and permanently enjoining Progressive
18                 a.    from using Mitchell’s valuation reports because Mitchell’s reports
19    rely on falsified, deceptive or misleading factors and data in the practices challenged
20    herein and do not represent actual cash values; or
21                 b.    from future violations of Texas law and mandating they disclose the
22    use of Mitchell and that its value is lower than actual cash value;
23          4.     For all damages authorized by law, including treble damages under Texas
24    Insurance Code § 541.152(b);
25          5.     For an accounting;
26          6.     For pre-judgment interest to the extent permitted by law;
27          7.     For an award of attorneys’ fees, costs and expenses incurred in the
28    investigation, filing and prosecution of this action under any applicable provision of law;
                                         29
                        CLASS ACTION: FIRST AMENDED COMPLAINT
                                                                                CASE NO. 17-cv-2282
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 1          8.     For interest provided by law;
 2          9.     For declaratory relief; and
 3          10.    For such other and further relief as the Court deems proper.
 4
                                              Respectfully Submitted,
 5

 6                                            s/ Kimberly D. Neilson, Esq.
                                              FRISELLA LAW, APC
 7                                            Attorneys for Plaintiff
 8

 9                                 DEMAND FOR JURY TRIAL
10          Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury of
11    all triable claims asserted in this Complaint.
12    Dated: February 16, 2018
13                                            Respectfully Submitted,
14
                                              s/ Kimberly D. Neilson, Esq.
15                                            FRISELLA LAW, APC
                                              Attorneys for Plaintiff
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                        CLASS ACTION: FIRST AMENDED COMPLAINT
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                             9611A TX 0815




     TEXAS
     AUTO POLICY




     PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY

     7301 METRO CENTER DRIVE, AUSTIN, TEXAS 78744

     100% REINSURED BY PROGRESSIVE CASUALTY INSURANCE COMPANY
     MUTUAL COMPANY PARTICIPATING NONASSESSABLE POLICY

     THESE POLICY PROVISIONS ALONG WITH THE DECLARATIONS PAGE,
     APPLICATION, AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A
     PART THEREOF, COMPLETE THIS POLICY.



     Form 9611A TX (08/15)
     version 2.0




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                                   TEXAS AUTO POLICY

                                  INSURING AGREEMENT

   In return for your payment of the premium, we agree to insure you subject to all the
   terms, conditions and limitations of this policy. We will insure you for the coverages
   and the limits of liability shown on this policy’s declarations page. Your policy consists
   of the policy contract, your insurance application, the declarations page, and all en-
   dorsements to this policy.

                                  GENERAL DEFINITIONS

   The following definitions apply throughout the policy. Defined terms are printed in bold-
   face type and have the same meaning whether in the singular, plural, or any other
   form.
   1. “Additional auto” means an auto and any land motor vehicle of the private
       passenger automobile, pickup body, utility vehicle or van type with a gross vehicle
       weight rating of 25,000 pounds or less whose primary use is not the delivery or
       transportation of goods, materials or supplies, unless their transport is related to
       farming or ranching, of which you become the owner of during the policy period
       that does not permanently replace an auto shown on the declarations page, if:
       a. you notify us within 30 days of becoming the owner of the additional auto;
            and
       b. you pay any additional premium due.
       An additional auto will have the broadest coverage we provide for any auto shown
       on the declarations page. If you ask us to insure an additional auto more than
       30 days after you become the owner, any coverage we provide will begin at the
       time you request coverage.
   2. “Auto” means a land motor vehicle:
       a. of the private passenger, pickup body, or cargo van type;
       b. designed for operation principally upon public roads;
       c. with at least four wheels; and
       d. with a gross vehicle weight rating of 12,000 pounds or less, according to the
            manufacturer’s specifications.
       However, “auto” does not include step-vans, parcel delivery vans, or cargo cutaway
       vans or other vans with cabs separate from the cargo area.
   3. “Auto business” means the business of selling, leasing, repairing, parking, storing,
       servicing, delivering or testing vehicles.
   4. “Bodily injury” means bodily harm, sickness, or disease, including death that re-
       sults from bodily harm, sickness, or disease.
   5. “Business day” means a day other than a Saturday, Sunday, or a holiday recog-
       nized by the state of Texas.
   6. “Covered auto” means:
       a. any auto or trailer shown on the declarations page for the coverages appli-
            cable to that auto or trailer;
       b. any additional auto;
                                               1
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         c. any replacement auto; or
         d. a trailer owned by you.
   7.    “Declarations page” means the document showing your coverages, limits of li-
         ability, covered autos, premium, and other policy-related information. The declara-
         tions page may also be referred to as the Auto Insurance Coverage Summary.
   8.    “Occupying” means in, upon, or getting in, on, out, or off.
   9.    “Personal vehicle sharing program” means a system or process, operated by a
         business, organization, network, group, or individual, that facilitates the sharing of
         private passenger motor vehicles for use by individuals, businesses, or other enti-
         ties.
   10.   “Relative” means a person residing in the same household as you, and related to
         you by blood, marriage or adoption, and includes a ward, stepchild, or foster child.
         Your unmarried dependent children temporarily away from home will qualify as a
         relative if they intend to continue to reside in your household.
   11.   “Replacement auto” means an auto that permanently replaces an auto shown on
         the declarations page. “Replacement auto” also means any land motor vehicle
         of the private passenger automobile, pickup body, utility vehicle or van type with a
         gross vehicle weight rating of 25,000 pounds or less whose primary use is not the
         delivery or transportation of goods, materials or supplies, unless their transport is
         related to farming or ranching. A replacement auto will have the same coverage
         as the auto it replaces. However, if the auto being replaced had or did not have
         coverage under Part IV—Damage To A Vehicle, such coverage will apply to the
         replacement auto only during the first 30 days after you become the owner un-
         less you notify us within that 30-day period that you want us to extend coverage
         beyond the initial 30 days.
   12.   “Ride-sharing activity” means the use of any vehicle to provide transportation
         of persons or property in connection with a transportation network company
         from the time a driver logs on to, or signs in to, any online-enabled application,
         software, website or system until the time the driver logs out of, or signs off of, any
         such online-enabled application, software, website or system, whether or not the
         driver has accepted any passenger(s) or delivery assignment, including the time
         the driver is on the way to pick up any passenger(s) or property, or is transporting
         any passenger(s) or property.
   13.   “Trailer” means a non-motorized trailer, including a farm wagon or farm implement,
         designed to be towed on public roads by an auto and not being used:
         a. for commercial purposes;
         b. as an office, store, or for display purposes; or
         c. as a passenger conveyance.
   14.   “Transportation network company” means a corporation, partnership, sole
         proprietorship, or other entity that uses any online-enabled application, software,
         website or system to connect drivers with clients or passengers to facilitate and/or
         provide transportation or delivery services for compensation or a fee.
   15.   “We,” “us” and “our” mean the underwriting company providing the insurance, as
         shown on the declarations page.


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   16. “You” and “your” mean:
       a. a person shown as a named insured on the declarations page; and
       b. the spouse of a named insured if:
           (i) residing in the same household at the time of the loss; or
           (ii) not residing in the same household during a period of separation in con-
                templation of divorce.

                              PART I—LIABILITY TO OTHERS

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay damages for bodily injury and
   property damage for which an insured person becomes legally responsible because
   of an accident.

   Damages include prejudgment interest awarded against an insured person.

   We will settle or defend, at our option, any claim for damages covered by this Part I.
   Our duty to settle or defend ends when our limit of liability for this coverage has been
   exhausted.

   ADDITIONAL DEFINITIONS

   When used in this Part I:
   1. “Insured person” means:
      a. you or a relative with respect to an accident arising out of the ownership,
          maintenance or use of an auto or a trailer;
      b. any person with respect to an accident arising out of that person’s use of a
          covered auto with the permission of you or a relative;
      c. any person or organization with respect only to vicarious liability for the acts or
          omissions of a person described in a. or b. above; and
      d. any “Additional Interest” shown on the declarations page with respect only to
          its liability for the acts or omissions of a person described in a. or b. above.
   2. “Property damage” means physical damage to, destruction of, or loss of use of,
      tangible property.

   ADDITIONAL PAYMENTS

   In addition to our limit of liability, we will pay for an insured person:
   1. all expenses we incur in the settlement of any claim or defense of any lawsuit;
   2. interest accruing after entry of judgment, until we have paid, offered to pay, or de-
        posited in court, that portion of the judgment which does not exceed our limit of
        liability. This does not apply if we have not been given notice of suit or the opportu-
        nity to defend an insured person;
   3. the premium on any appeal bond or attachment bond required in any lawsuit we
        defend. We have no duty to purchase a bond in an amount exceeding our limit of
        liability, and we have no duty to apply for or furnish these bonds;
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   4.   up to $250 for a bail bond required because of an accident resulting in bodily in-
        jury or property damage covered under this Part I. We have no duty to apply for
        or furnish this bond; and
   5.   reasonable expenses, including loss of earnings up to $200 per day, incurred at
        our request.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART I.

   Coverage under this Part I, including our duty to defend, will not apply to any insured
   person for:
   1. bodily injury or property damage arising out of the ownership, maintenance or
       use of any vehicle or trailer while it is:
       a. being used to carry persons for compensation or a fee;
       b. being used to carry property for compensation or a fee. This exclusion does
            not apply to you or a relative, unless the primary usage of the auto is to carry
            property for compensation or a fee;
       c. rented or leased to another. This exclusion does not apply if you or a relative
            lends your covered auto to another at no charge other than for reimburse-
            ment of operating expenses;
       d. being used for retail or wholesale delivery, including, but not limited to, the pick-
            up, transport or delivery of magazines, newspapers, mail or food; or
       e. for ride-sharing activity.
       This exclusion does not apply to shared-expense car pools;
   2. bodily injury to an employee of that insured person arising out of or within the
       course of employment. This exclusion does not apply to domestic employees if
       benefits are neither paid nor required to be provided under workers’ compensation,
       disability benefits, or similar laws;
   3. bodily injury or property damage arising out of an accident involving any vehicle
       while being maintained or used by a person while employed or engaged in any
       auto business. This exclusion does not apply to you or a relative, or an agent or
       employee of you or a relative, when using a covered auto;
   4. bodily injury or property damage resulting from, or sustained during practice or
       preparation for:
       a. any pre-arranged or organized racing, stunting, speed or demolition contest or
            activity; or
       b. any driving activity conducted on a permanent or temporary racetrack or race-
            course;
   5. bodily injury or property damage due to a nuclear reaction or radiation;
   6 bodily injury or property damage for which insurance:
       a. is afforded under a nuclear energy liability insurance contract; or
       b. would be afforded under a nuclear energy liability insurance contract but for its
            termination upon exhaustion of its limit of liability;
   7. any obligation for which the United States Government is liable under the Federal
       Tort Claims Act;
   8. bodily injury or property damage caused by an intentional act of that insured
                                                4
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         person, or at the direction of that insured person, even if the actual injury or dam-
         age is different than that which was intended or expected;
   9.    property damage to any property owned by, rented to, being transported by, used
         by, or in the charge of that insured person. This exclusion does not apply to a
         rented residence or garage;
   10.   bodily injury to you or any relative, except to the extent of the minimum limits of
         liability coverage required by the Texas Transportation Code Chapter 601, entitled
         “Motor Vehicle Safety-Responsibility Act”;
   11.   bodily injury or property damage arising out of the ownership, maintenance or
         use of any vehicle owned by you or furnished or available for your regular use,
         other than a covered auto for which this coverage has been purchased;
   12.   bodily injury or property damage arising out of the ownership, maintenance or
         use of any vehicle owned by a relative or furnished or available for the regular use
         of a relative, other than a covered auto for which this coverage has been pur-
         chased. This exclusion does not apply to your maintenance or use of such vehicle;
   13.   bodily injury or property damage arising out of your or a relative’s use of a ve-
         hicle, other than a covered auto, without the permission of the owner of the vehicle
         or the person in lawful possession of the vehicle;
   14.   punitive or exemplary damages;
   15.   bodily injury or property damage caused by, or reasonably expected to result
         from, a criminal act or omission of that insured person. This exclusion applies
         regardless of whether that insured person is actually charged with, or convicted
         of, a crime. For purposes of this exclusion, criminal acts or omissions do not include
         traffic violations; or
   16.   property damage due to or as a consequence of a seizure of any vehicle by
         federal or state law enforcement officers as evidence in a case against you under
         Chapter 481 of the Health and Safety Code, or under the federal Controlled Sub-
         stances Act, if you are convicted in such a case.

   LIMITS OF LIABILITY

   The limit of liability shown on the declarations page for liability coverage is the most we
   will pay regardless of the number of:
   1. claims made;
   2. covered autos;
   3. insured persons;
   4. lawsuits brought;
   5. vehicles involved in the accident; or
   6. premiums paid.

   If your declarations page shows a split limit:
   1. the amount shown for “each person” is the most we will pay for all damages due to
        bodily injury to one person resulting from any one accident;
   2. subject to the “each person” limit, the amount shown for “each accident” is the most
        we will pay for all damages due to bodily injury sustained by two or more persons
        in any one accident; and
                                                5
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   3.   the amount shown for “property damage” is the most we will pay for the total of all
        property damage resulting from any one accident.

   The “each person” limit of liability applies to the total of all claims made for bodily in-
   jury to a person and all claims of others arising from such bodily injury, including, but
   not limited to, bystander claims, emotional injury or mental anguish resulting from the
   bodily injury of another, loss of society, loss of companionship, loss of services, loss of
   consortium, and wrongful death.

   If the declarations page shows that “combined single limit” or “CSL” applies, the
   amount shown is the most we will pay for the total of all damages resulting from any
   one accident. However, without changing this limit of liability, we will comply with any law
   that requires us to provide any separate limits.

   No one is entitled to duplicate payments for the same elements of damages.

   Any payment to a person under this Part I will be reduced by any payment to that person
   under Part II(A)—Medical Payments Coverage, Part II(B)—Personal Injury Protection
   Coverage, or Part III—Uninsured/Underinsured Motorist Coverage.

   We will not pay under this Part I any expenses paid or payable under Part II(A)—
   Medical Payments Coverage.

   If multiple auto policies issued by us are in effect for you, we will pay no more than the
   highest limit of liability for this coverage available under any one policy.

   An auto and attached trailer are considered one auto. Therefore, the limits of liability
   will not be increased for an accident involving an auto that has an attached trailer.

   FINANCIAL RESPONSIBILITY LAWS

   When we certify this policy as proof of financial responsibility, this policy will comply with
   the law to the extent required.

   OTHER INSURANCE

   If there is any other applicable liability insurance or bond, any liability insurance we pro-
   vide will be excess over any other applicable liability insurance or bond. If more than one
   liability insurance policy or bond applies on an excess basis, we will pay only our share
   of the damages. Our share is the proportion that our limit of liability bears to the total of
   all applicable limits.

   OUT-OF-STATE COVERAGE

   If an accident to which this Part I applies occurs in any state, territory or possession of
   the United States of America or any province or territory of Canada, other than the one
   in which a covered auto is principally garaged, and the state, province, territory or pos-
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   session has:
   1. a financial responsibility or similar law requiring limits of liability for bodily injury
       or property damage higher than the limits shown on the declarations page, this
       policy will provide the higher limits; or
   2. a compulsory insurance or similar law requiring a non-resident to maintain insur-
       ance whenever the non-resident uses an auto in that state, province, territory or
       possession, this policy will provide the greater of:
       a. the required minimum amounts and types of coverage; or
       b. the limits of liability under this policy.

                     PART II(A)—MEDICAL PAYMENTS COVERAGE

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay the reasonable expenses incurred
   for necessary medical services received within three years from the date of a motor
   vehicle accident because of bodily injury:
   1. sustained by an insured person; and
   2. caused by that motor vehicle accident.

   We, or someone on our behalf, will determine:
   1. whether the expenses for medical services are reasonable; and
   2. whether the medical services are necessary.

   ADDITIONAL DEFINITIONS

   When used in this Part II(A):
   1. “Insured person” means:
      a. you or a relative:
           (i) while occupying an auto; or
           (ii) when struck by a motor vehicle or a trailer while not occupying a self-
                propelled motorized vehicle; and
      b. any other person while occupying a covered auto with the permission of you
           or a relative.
   2. “Medical services” means medical, surgical, dental, x-ray, ambulance, hospital,
      professional nursing, and funeral services, and includes the cost of eyeglasses,
      hearing aids, pharmaceuticals, orthopedics, and prosthetic devices.
   3. “Motor vehicle” means a land motor vehicle designed for use principally on public
      roads.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
   EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
   PART II(A).

   Coverage under this Part II(A) will not apply to bodily injury:
   1. sustained by any person while occupying a covered auto while it is being used:
      a. to carry persons or property for compensation or a fee;
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         b.   for retail or wholesale delivery, including, but not limited to, the pickup, transport
              or delivery of magazines, newspapers, mail or food; or
         c. for ride-sharing activity.
         This exclusion does not apply to shared-expense car pools;
   2.    arising out of an accident involving a vehicle while being maintained or used by a
         person while employed or engaged in any auto business. This exclusion does not
         apply to you, a relative, or an agent or employee of you or a relative, when using
         a covered auto;
   3.    to any person resulting from, or sustained during practice or preparation for:
         a. any pre-arranged or organized racing, stunting, speed or demolition contest or
              activity; or
         b. any driving activity conducted on a permanent or temporary racetrack or race-
              course;
   4.    due to a nuclear reaction or radiation;
   5.    for which insurance:
         a. is afforded under a nuclear energy liability insurance contract; or
         b. would be afforded under a nuclear energy liability insurance contract but for its
              termination upon exhaustion of its limit of liability;
   6.    for which the United States Government is liable under the Federal Tort Claims Act;
   7.    sustained by any person while occupying any vehicle or trailer while located for
         use as a residence or premises;
   8.    if workers’ compensation benefits are available for the bodily injury;
   9.    sustained by any person while occupying or when struck by any vehicle owned by
         you or furnished or available for your regular use, other than a covered auto for
         which this coverage has been purchased;
   10.   sustained by any person while occupying or when struck by any vehicle owned
         by a relative or furnished or available for the regular use of a relative, other than
         a covered auto for which this coverage has been purchased. This exclusion does
         not apply to you;
   11.   to you or a relative, while occupying any vehicle, other than a covered auto,
         without the permission of the owner of the vehicle or the person in lawful posses-
         sion of the vehicle;
   12.   to any person while occupying a covered auto while leased or rented to others,
         including while being used in connection with a personal vehicle sharing pro-
         gram. This exclusion does not apply if you or a relative lends your covered auto
         to another at no charge other than for reimbursement of operating expenses;
   13.   caused directly or indirectly by:
         a. war (declared or undeclared) or civil war;
         b. warlike action by any military force of any government, sovereign or other au-
              thority using military personnel or agents. This includes any action taken to
              hinder or defend against an actual or expected attack; or
         c. insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
              ernmental authority to hinder or defend against any of these acts;
   14.   caused directly or indirectly by:
         a. any accidental or intentional discharge, dispersal or release of radioactive,
              nuclear, pathogenic or poisonous biological material; or
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       b.  any intentional discharge, dispersal or release of chemical or hazardous mate-
           rial for any purpose other than its safe and useful purpose; or
   15. to an insured person caused by, or reasonably expected to result from, a crimi-
       nal act or omission of that insured person. This exclusion applies regardless of
       whether the insured person is actually charged with, or convicted of, a crime. For
       purposes of this exclusion, criminal acts or omissions do not include traffic violations.

   LIMITS OF LIABILITY

   The limit of liability shown on the declarations page for Medical Payments Coverage is
   the most we will pay for each insured person injured in any one accident, regardless
   of the number of:
   1. claims made;
   2. covered autos;
   3. insured persons;
   4. lawsuits brought;
   5. vehicles involved in the accident; or
   6. premiums paid.

   No one will be entitled to duplicate payments under this policy for the same elements
   of damages.

   Any amount payable to an insured person under this Part II(A) will be reduced by any
   amount paid or payable for the same expense under Part I—Liability To Others or Part
   III—Uninsured/Underinsured Motorist Coverage.

   If multiple auto policies issued by us are in effect for you, we will pay no more than the
   highest limit of liability for this coverage available under any one policy.

   UNREASONABLE OR UNNECESSARY MEDICAL EXPENSES

   If an insured person incurs expenses for medical services that we deem to be unrea-
   sonable or unnecessary, we may refuse to pay for those expenses and contest them.

   If the medical service provider sues the insured person because we refuse to pay
   expenses for medical services that we deem to be unreasonable or unnecessary, we
   will pay any resulting defense costs, and any resulting judgment against the insured
   person, subject to the limit of liability for this coverage. We will choose the counsel.
   We will also pay reasonable expenses, including loss of earnings up to $200 per day,
   incurred at our request.

   The insured person may not sue us for expenses for medical services we deem to
   be unreasonable or unnecessary unless the insured person paid the entire disputed
   amount to the medical service provider or the medical service provider has initiated
   collection activity against the insured person for the unreasonable or unnecessary
   expenses.
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   ASSIGNMENT OF BENEFITS

   Payments for medical expenses will be paid directly to a physician or other healthcare
   provider if we receive a written assignment signed by the insured person to whom
   such benefits are payable.

   OTHER INSURANCE

   If there is other applicable auto medical payments insurance, we will pay only our share
   of the loss. Our share is the proportion that our limit of liability bears to the total of all
   applicable limits. However, any insurance we provide for an insured person occupy-
   ing a vehicle or trailer, other than a covered auto, will be excess over any other auto
   insurance providing payments for medical services.

              PART II(B)—PERSONAL INJURY PROTECTION COVERAGE

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay Personal Injury Protection Benefits
   because of bodily injury:
   1. resulting from a motor vehicle accident; and
   2. sustained by an insured person.

   Our payment will only be for losses or expenses incurred within three years of the ac-
   cident.

   Personal Injury Protection Benefits consist of:
   1. Reasonable expenses incurred for necessary medical and funeral services.
   2. Eighty percent (80%) of an insured person’s loss of income from employment.
       This benefit applies only if, at the time of the accident, the insured person:
       a. was an income producer; and
       b. was in an occupational status.
       Benefits due to loss of income from employment do not apply to any loss after the
       insured person dies.
       Loss of income is the difference between:
       a. income which would have been earned had the insured person not been
           injured; and
       b. the amount of income actually received from employment during the disability.
           If the income being earned as of the date of the accident is a salary or fixed re-
           muneration, it shall be used in determining the amount of income which would
           have been earned. Otherwise, the average monthly income earned during the
           period (not more than 12 months) preceding the accident shall be used.
   3. Reasonable expenses incurred for obtaining essential services. These services
       must replace those an insured person would normally have performed:
       a. without pay;
       b. during the period of disability; and
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       c. for the care and maintenance of the family or household.
       Essential service benefits apply only if, at the time of the accident, the insured
       person:
       a. was not an income producer; and
       b. was not in an occupational status.
       Essential service benefits do not apply to any loss after the insured person dies.

   ADDITIONAL DEFINITION

   When used in this Part II(B):
   1. “Insured person” means:
      a. you or a relative;
          (i) while occupying; or
          (ii) when struck by;
          a motor vehicle designed for use mainly on public roads or a trailer; and
      b. any other person while occupying a covered auto with your permission.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
   EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
   PART II(B).

   We do not provide Personal Injury Protection Coverage for bodily injury sustained:
   1. by any person in an accident caused intentionally by, or at the direction of, that
      person;
   2. by any person while that person is committing a felony;
   3. by any person while that person is attempting to elude arrest by a law enforcement
      official;
   4. by any person while occupying, or when struck by, any motor vehicle, other than
      your covered auto, which is owned by you; or
   5. by a relative while occupying, or when struck by, any motor vehicle, other than
      your covered auto, which is owned by a relative.

   LIMITS OF LIABILITY

   The limit of liability shown on the declarations page for this coverage is the maximum
   limit of liability for each person injured in any one accident. This is the most we will pay
   regardless of the number of:
   1. insured persons;
   2. claims made;
   3. vehicles or premiums shown on the declarations page; or
   4. vehicles involved in the accident.

   Any amount payable to an insured person under this Part II(B) will be reduced by any
   amount paid or payable for the same expense under Part I—Liability To Others or Part
   III—Uninsured/Underinsured Motorist Coverage.

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   If multiple auto policies issued by us are in effect for you, we will pay no more than the
   highest limit of liability for this coverage available under any one policy.

   OTHER INSURANCE

   If there is other applicable Personal Injury Protection insurance, we will pay only our
   share. Our share is the proportion that our limit of liability bears to the total of all appli-
   cable limits. However, any insurance we provide with respect to an auto you do not own
   shall be excess over any other collectible Personal Injury Protection insurance.

   LOSS PAYMENTS

   Benefits are payable under this Part II(B) as follows:
   1. Not more frequently than once every two weeks; and
   2. Within 30 days after satisfactory proof of claim is received.

   ASSIGNMENT OF BENEFITS

   Payments for medical expenses will be paid directly to a physician or other health care
   provider if we receive a written assignment signed by the insured person to whom
   such benefits are payable.

           PART III—UNINSURED/UNDERINSURED MOTORIST COVERAGE

   INSURING AGREEMENT—UNINSURED/UNDERINSURED MOTORIST BODILY
   INJURY COVERAGE

   If you pay the premium for this coverage, we will pay for damages that an insured
   person is legally entitled to recover from the owner or operator of an uninsured motor
   vehicle because of bodily injury:
   1. sustained by an insured person;
   2. caused by an accident; and
   3. arising out of the ownership, maintenance or use of an uninsured motor vehicle.

   INSURING AGREEMENT—UNINSURED/UNDERINSURED MOTORIST
   PROPERTY DAMAGE COVERAGE

   If you pay the premium for this coverage, we will pay for damages that an insured
   person is legally entitled to recover from the owner or operator of an uninsured motor
   vehicle due to property damage to a covered auto:
   1. caused by an accident; and
   2. arising out of the ownership, maintenance, or use of an uninsured motor vehicle.

   If we and an insured person do not agree as to whether a vehicle is actually uninsured
   or underinsured, the burden of proof as to that issue shall be on us.

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   Any judgment or settlement for damages against an owner or operator of an uninsured
   motor vehicle that arises out of a lawsuit brought without our written consent is not
   binding on us.

   ADDITIONAL DEFINITIONS

   When used in this Part III:
   1. “Insured person” means:
      a. you or a relative;
      b. any person while operating a covered auto with the permission of you or a
          relative;
      c. any person occupying, but not operating, a covered auto; and
      d. any person who is entitled to recover damages covered by this Part III because
          of bodily injury sustained by a person described in a., b. or c. above.
   2. “Property damage” means physical damage to, or destruction or loss of use of:
      a. a covered auto;
      b. any property owned by an insured person and contained in the covered
          auto at the time of the accident; and
      c. any property owned by you or a relative while contained in any auto not
          owned by, but being operated by, you or a relative.
   3. “Uninsured motor vehicle” means a land motor vehicle or trailer of any type:
      a. to which no bodily injury liability bond or policy applies at the time of the ac-
          cident;
      b. to which a bodily injury liability bond or policy applies at the time of the acci-
          dent, but the bonding or insuring company:
          (i) denies coverage; or
          (ii) is or becomes insolvent;
      c. to which a bodily injury liability bond or policy applies at the time of the ac-
          cident, but its limit of liability for bodily injury is less than the minimum limit of
          liability for bodily injury specified by the financial responsibility law of the state
          in which the covered auto is principally garaged;
      d. that is a hit-and-run vehicle whose owner or operator cannot be identified and
          which strikes:
          (i) you or a relative;
          (ii) a vehicle that you or a relative are occupying; or
          (iii) a covered auto;
          provided that the insured person, or someone on his or her behalf, reports
          the accident to the police or civil authority within 24 hours or as soon as prac-
          ticable after the accident; or
      e. that is an underinsured motor vehicle. An underinsured motor vehicle is one to
          which a liability bond or policy applies at the time of the accident, but its limit of
          liability either:
          (i) is not enough to pay the full amount the insured person is legally entitled
                to recover as damages; or
          (ii) has been reduced by payment of claims to an amount which is not enough
                to pay the full amount the insured person is legally entitled to recover as
                damages.
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       An “uninsured motor vehicle” does not include any vehicle or equipment:
       a. owned by you or a relative or furnished or available for the regular use of you
           or a relative;
       b. owned or operated by a self-insurer under any applicable motor vehicle law,
           except a self-insurer that is or becomes insolvent;
       c. owned by any governmental unit or agency;
       d. operated on rails or crawler treads;
       e. designed mainly for use off public roads, while not on public roads;
       f. while located for use as a residence or premises; or
       g. that is a covered auto.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART III.

   Coverage under this Part III will not apply:
   1. to bodily injury sustained by any person while using or occupying:
      a. a covered auto while being used
           (i) to carry persons for compensation or a fee; or
           (ii) for ride-sharing activity.
           This exclusion does not apply to shared-expense car pools;
      b. a covered auto being used to carry property for compensation or a fee. This
           does not apply to you or a relative, unless the primary usage of the auto is to
           carry property for compensation or a fee;
      c. a covered auto that is rented or leased to another. This exclusion does not ap-
           ply if you or a relative lends your covered auto to another at no charge other
           than for reimbursement of operating expenses; or
      d. a motor vehicle that is owned by or available for the regular use of you or a
           relative. This exclusion does not apply to a covered auto that is insured under
           this Part III;
   2. to bodily injury sustained by you or a relative while using any vehicle, other than
      a covered auto, without the permission of the owner of the vehicle or the person in
      lawful possession of the vehicle;
   3. directly or indirectly to benefit any insurer or self-insurer under any of the following
      or similar laws:
      a. workers’ compensation law; or
      b. disability benefits law;
   4. to any punitive or exemplary damages;
   5. to any person for bodily injury or property damage resulting from an intentional
      act of that person;
   6. to bodily injury sustained by any person if that person or the legal representative
      of that person settles without our written consent;
   7. to bodily injury arising out of the use of a covered auto while being used in con-
      nection with a personal vehicle sharing program. This exclusion does not apply
      to the operation of a covered auto by you, a relative, or a rated resident;
   8. to property damage:
      a. sustained while a covered auto is being used or driven by a person while
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             employed or engaged in any auto business. However, this exclusion does not
             apply to you or a relative, or an agent or employee of you or a relative, when
             using a covered auto;
        b. resulting from, or sustained during practice or preparation for:
             (i) any pre-arranged or organized racing, stunting, speed, or demolition con-
                   test or activity; or
             (ii) any driving activity conducted on a permanent or temporary racetrack or
                   racecourse; or
        c. for which insurance:
             (i) is afforded under a nuclear energy liability insurance contract; or
             (ii) would be afforded under a nuclear energy liability insurance contract but
                   for its termination upon exhaustion of its limit of liability; or
   9.   to the first $250 of property damage sustained by an insured person as a result
        of any one accident.

   LIMITS OF LIABILITY

   The limit of liability shown on the declarations page for Uninsured/Underinsured
   Motorist Coverage is the most we will pay regardless of the number of:
   1. claims made;
   2. covered autos;
   3. insured persons;
   4. lawsuits brought;
   5. vehicles involved in the accident; or
   6. premiums paid.

   If your declarations page shows a split limit:
   1. the amount shown for “each person” is the most we will pay for all damages due to
        bodily injury to one person;
   2. subject to the “each person” limit, the amount shown for “each accident” is the most
        we will pay for all damages due to bodily injury sustained by two or more persons
        in any one accident; and
   3. the amount shown for “each accident” for property damage is our maximum limit
        of liability for all property damage resulting from any one accident.

   The “each person” limit of liability includes the total of all claims made for bodily injury
   to an insured person and all claims of others arising from such bodily injury, includ-
   ing, but not limited to, bystander claims, emotional injury or mental anguish resulting
   from the bodily injury of another, loss of society, loss of companionship, loss of ser-
   vices, loss of consortium, and wrongful death.

   If the declarations page shows that “combined single limit” or “CSL” applies, the
   amount shown is the most we will pay for the total of all damages resulting from any
   one accident. However, without changing this total limit of liability, we will comply with
   any law that requires us to provide any separate limits.

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   The damages recoverable under this Part III will be reduced by all sums:
   1. paid or payable because of bodily injury by or on behalf of any persons or organi-
       zations that may be legally responsible;
   2. paid or payable under Part I—Liability To Others; and
   3. paid or payable because of bodily injury under any of the following or similar laws:
       a. workers’ compensation law; or
       b. disability benefits law.

   We will not pay under this Part III any expenses paid or payable under Part II(A)—Medi-
   cal Payments Coverage or Part II(B) Personal Injury Protection Coverage.

   The damages recoverable for property damage under this Part III will be reduced by
   all sums paid or payable because of property damage by or on behalf of any persons
   or organizations who may be legally responsible, including, but not limited to, all sums
   paid under Part I—Liability To Others.

   No one will be entitled to duplicate payments for the same elements of damages.

   If multiple auto policies issued by us are in effect for you, we will pay no more than the
   highest limit of liability for this coverage available under any one policy.

   OTHER INSURANCE

   If there is other applicable uninsured or underinsured motorist coverage, we will pay
   only our share of the damages. Our share is the proportion that our limit of liability
   bears to the total of all available coverage limits. However, any insurance we provide
   with respect to an auto you do not own shall be excess over any other valid and col-
   lectible insurance.

   For any property damage to which the coverage under Part IV—Damage To A Vehicle
   of this policy (or similar coverage from another policy) and this coverage both apply, you
   may choose the coverage from which damages will be paid. You may recover under
   both coverages, but only if:
   1. neither one by itself is sufficient to cover the loss;
   2. you pay the higher deductible amount (but you do not have to pay both deduct-
        ibles); and
   3. you will not recover more than the actual damages.

                            PART IV—DAMAGE TO A VEHICLE

   INSURING AGREEMENT—COLLISION COVERAGE

   If you pay the premium for this coverage, we will pay for sudden, direct and accidental
   loss to a:
   1. covered auto, including an attached trailer; or
   2. non-owned auto;
   and its custom parts or equipment, resulting from collision.
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   In addition, we will pay the reasonable cost to replace any child safety seat damaged in
   an accident to which this coverage applies.

   INSURING AGREEMENT—COMPREHENSIVE COVERAGE

   If you pay the premium for this coverage, we will pay for sudden, direct and accidental
   loss to a:
   1. covered auto, including an attached trailer; or
   2. non-owned auto;
   and its custom parts or equipment, that is not caused by collision.

   A loss not caused by collision includes:
   1. contact with an animal (including a bird);
   2. explosion or earthquake;
   3. fire;
   4. malicious mischief or vandalism;
   5. missiles or falling objects;
   6. riot or civil commotion;
   7. theft or larceny;
   8. windstorm, hail, water or flood; or
   9. breakage of glass not caused by collision.

   In addition, we will pay for:
   1. reasonable transportation expenses incurred by you if a covered auto is stolen; and
   2. loss of use damages that you are legally liable to pay if a non-owned auto is stolen.
   A combined maximum of $900, not exceeding $30 per day, will apply to these addi-
   tional benefits. The additional benefit for transportation expenses will not apply if you
   purchased Rental Reimbursement Coverage for the stolen covered auto.

   Coverage for transportation expenses and loss of use damages begins 48 hours after
   you report the theft to us and ends the earliest of:
   1. when the auto has been recovered and returned to you or its owner;
   2. when the auto has been recovered and repaired;
   3. when the auto has been replaced; or
   4. 72 hours after we make an offer to settle the loss if the auto is deemed by us to be
       a total loss.

   We must receive written proof of transportation expenses and loss of use damages.

   INSURING AGREEMENT—ADDITIONAL CUSTOM PARTS
   OR EQUIPMENT COVERAGE

   We will pay for sudden, direct and accidental loss to custom parts or equipment on a
   covered auto for which this coverage has been purchased. This coverage applies only
   if you have purchased both Comprehensive Coverage and Collision Coverage for that
   covered auto and the loss is covered under one of those coverages. This coverage
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   applies in addition to any coverage automatically provided for custom parts or equip-
   ment under Comprehensive Coverage or Collision Coverage.

   INSURING AGREEMENT—RENTAL REIMBURSEMENT COVERAGE

   We will reimburse rental charges incurred when you rent an auto from a rental agency
   or auto repair shop due to a loss to a covered auto for which Rental Reimbursement
   Coverage has been purchased. This coverage applies only if you have purchased both
   Comprehensive Coverage and Collision Coverage for that covered auto and the loss
   is covered under one of those coverages.

   Additional fees or charges for insurance, damage waivers, optional equipment, fuel, or
   accessories are not covered.

   This coverage is limited to the each day limit shown on the declarations page for a
   maximum of 30 days.

   If Rental Reimbursement Coverage applies, no other coverage under this policy for
   rental expenses will apply.

   Rental charges will be reimbursed beginning:
   1. when the covered auto cannot be driven due to a loss; or
   2. if the covered auto can be driven, when you deliver the covered auto to an auto
       repair shop or one of our Service Centers for repairs due to the loss;
   and ending the earliest of:
   1. when the covered auto has been returned to you;
   2. when the covered auto has been repaired;
   3. when the covered auto has been replaced;
   4. 72 hours after we make an offer to settle the loss if the covered auto is deemed by
       us to be a total loss; or
   5. when you incur 30 days worth of rental charges.

   You must provide us written proof of your rental charges to be reimbursed.

   INSURING AGREEMENT—LOAN/LEASE PAYOFF COVERAGE

   If you pay the premium for this coverage, and the covered auto for which this cover-
   age was purchased is deemed by us to be a total loss, we will pay, in addition to any
   amounts otherwise payable under this Part IV, the difference between:
   1. the actual cash value of the covered auto at the time of the total loss; and
   2. any greater amount the owner of the covered auto is legally obligated to pay under
        a written loan or lease agreement to which the covered auto is subject at the time
        of the total loss, reduced by:
        a. unpaid finance charges or refunds due to the owner for such charges;
        b. excess mileage charges or charges for wear and tear;

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       c.   charges for extended warranties or refunds due to the owner for extended war-
            ranties;
       d.   charges for credit insurance or refunds due to the owner for credit insurance;
       e.   past due payments and charges for past due payments; and
       f.   collection or repossession expenses.

   However, our payment under this coverage shall not exceed the limit of liability shown
   on the declarations page. The limit of liability is a percentage of the actual cash value
   of the covered auto at the time of the loss.

   This coverage applies only if you have purchased both Comprehensive Coverage and
   Collision Coverage for that covered auto and the loss is covered under one of those
   coverages.

   INSURING AGREEMENT—PET INJURY COVERAGE

   If you have purchased Collision coverage for at least one covered auto under your
   policy, and if your pet sustains injury or death while inside a covered auto or non-
   owned auto at the time of a loss covered under Collision or Comprehensive coverage,
   we will provide:
   1. up to $1,000 for reasonable and customary veterinary fees incurred by you or a
        relative if your pet is injured in, or as a direct result of, the covered loss; or
   2. a $1,000 death benefit if your pet dies in, or as a direct result of, the covered loss,
        less any payment we made toward veterinary expenses for your pet.
   In the event of a covered loss due to the theft of a covered auto or non-owned auto,
   we will provide the death benefit provided your pet is inside that auto at the time of the
   theft and your pet is not recovered.

   ADDITIONAL DEFINITIONS

   When used in this Part IV:
   1. “Collision” means the upset of a vehicle or its impact with another vehicle or object.
   2. “Custom parts or equipment” means equipment, devices, accessories, en-
      hancements and changes, other than those that are offered by the manufacturer
      specifically for that auto model, or that are installed by the auto dealership as part
      of the original sale of a new auto, that:
      a. are permanently installed or attached; and
      b. alter the appearance or performance of the auto.
   3. “Non-owned auto” means an auto that is not owned by or furnished or available
      for the regular use of you or a relative while in the custody of or being operated
      by you or a relative with the permission of the owner of the auto or the person in
      lawful possession of the auto.
   4. “Property damage” means physical damage to, destruction of, or loss of use of,
      tangible property.
   5. “Your pet” means any dog or cat owned by you or a relative.

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   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART IV.

   Coverage under this Part IV will not apply for loss:
   1. from property damage arising out of the ownership, maintenance, or use of an
      auto or trailer while it is:
      a. being used to carry persons or property for compensation or a fee. This exclu-
           sion does not apply to shared-expense car pools;
      b. being used to carry property for compensation or a fee. This exclusion does
           not apply to you or a relative unless the primary usage of the auto is to carry
           property for compensation or a fee;
      c. rented or leased to another, including while being used in connection with a
           personal vehicle sharing program. This exclusion does not apply if you or a
           relative lends your covered auto at no charge other than for reimbursement
           of operating expenses; or
      d. being used for ride-sharing activity;
   2. to a non-owned auto while being maintained or used by a person while employed
      or engaged in any auto business;
   3. to any vehicle resulting from, or sustained during practice or preparation for:
      a. any pre-arranged or organized racing, stunting, speed or demolition contest or
           activity; or
      b. any driving activity conducted on a permanent or temporary racetrack or race-
           course;
   4. to any vehicle for which insurance:
      a. is afforded under a nuclear energy liability insurance contract; or
      b. would be afforded under a nuclear energy liability insurance contract but for its
           termination upon exhaustion of its limit of liability;
   5. to any vehicle caused by an intentional act committed by or at the direction of you,
      a relative, or the owner of a non-owned auto, even if the actual damage is differ-
      ent than that which was intended or expected;
   6. to any vehicle while being used in connection with a personal vehicle sharing
      program. This exclusion does not apply to the operation of a covered auto by you,
      a relative, or a rated resident;
   7. due to destruction or confiscation by governmental or civil authorities of any vehicle
      because you or any relative engaged in illegal activities. This includes loss due to
      or as a consequence of a seizure of any vehicle by federal or state law enforcement
      officers as evidence in a case against you under Chapter 481 of the Health and
      Safety Code, or under the federal Controlled Substances Act, if you are convicted
      in such a case;
   8. to any vehicle that is due and confined to:
      a. wear and tear;
      b. freezing;
      c. mechanical, electrical or electronic breakdown or failure; or
      d. road damage to tires.
      This exclusion does not apply if the damage results from the theft of a vehicle;
   9. to portable equipment, devices, accessories, and any other personal effects that
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       are not permanently installed. This includes, but is not limited to:
       a. tapes, compact discs, cassettes, DVDs, and other recording or recorded media;
       b. any case or other container designed for use in storing or carrying tapes, com-
            pact discs, cassettes, DVDs, or other recording or recorded media;
       c. any device used for the detection or location of radar, laser, or other speed
            measuring equipment or its transmissions; and
       d. CB radios, telephones, two-way mobile radios, DVD players, personal comput-
            ers, personal digital assistants, or televisions;
   10. to any vehicle caused directly or indirectly by:
       a. war (declared or undeclared) or civil war;
       b. warlike action by any military force of any government, sovereign, or other
            authority using military personnel or agents. This includes any action taken to
            hinder or defend against an actual or expected attack; or
       c. insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
            ernmental authority to hinder or defend against any of these acts;
   11. to any vehicle caused directly or indirectly by:
       a. any accidental or intentional discharge, dispersal or release of radioactive,
            nuclear, pathogenic or poisonous biological material; or
       b. any intentional discharge, dispersal or release of chemical or hazardous mate-
            rial for any purpose other than its safe and useful purpose; or
   12. to any vehicle caused by, or reasonably expected to result from, a criminal act or
       omission of you, a relative, or the owner of a non-owned auto. This exclusion ap-
       plies regardless of whether you, the relative, or the owner of the non-owned auto
       is actually charged with, or convicted of, a crime. For purposes of this exclusion,
       criminal acts or omissions do not include traffic violations.

   LIMITS OF LIABILITY

   1.   The limit of liability for loss to a covered auto, non-owned auto, or custom parts
        or equipment is the lowest of:
        a. the actual cash value of the stolen or damaged property at the time of the loss
            reduced by the applicable deductible;
        b. the amount necessary to replace the stolen or damaged property reduced by
            the applicable deductible;
        c. the amount necessary to repair the damaged property to its pre-loss condition
            reduced by the applicable deductible; or
        d. the Stated Amount shown on the declarations page for that covered auto.
        However, the most we will pay for loss to:
        a. custom parts or equipment is $1,000 unless you purchased Additional
            Custom Parts or Equipment Coverage (“ACPE”). If you purchased ACPE, the
            most we will pay is $1,000 plus the amount of ACPE you purchased.
        b. a trailer is the limit of liability shown on the declarations page for that trailer.
            If the trailer is not shown on the declarations page, the limit of liability is $500.
   2.   Payments for loss to a covered auto, non-owned auto, or custom parts or
        equipment are subject to the following provisions:
        a. If coverage applies to a non-owned auto, we will provide the broadest cover-
            age applicable to any covered auto shown on the declarations page.
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        b.  If you have elected a Stated Amount for a covered auto, the Stated Amount
            is the most we will pay for all loss to that covered auto, including its custom
            parts or equipment.
        c. Coverage for custom parts or equipment will not cause our limit of liability
            for loss to an auto under this Part IV to be increased to an amount in excess of
            the actual cash value of the auto, including its custom parts or equipment.
        d. In determining the amount necessary to repair damaged property to its pre-
            loss condition, the amount to be paid by us:
            (i) will not exceed the prevailing competitive labor rates charged in the area
                  where the property is to be repaired and the cost of repair or replacement
                  parts and equipment, as reasonably determined by us; and
            (ii) will be based on the cost of repair or replacement parts and equipment
                  which may be new, reconditioned, remanufactured or used, including, but
                  not limited to:
                  (a) original manufacturer parts or equipment; and
                  (b) nonoriginal manufacturer parts or equipment.
        e. To determine the amount necessary to repair or replace the damaged prop-
            erty as referred to in subsection 1., the total cost of necessary repair or replace-
            ment may be reduced by unrepaired prior damage. Unrepaired prior damage
            includes broken, cracked or missing parts; rust; dents; scrapes; gouges; and
            peeling paint. The reduction for unrepaired prior damage is the cost of labor,
            parts and materials necessary to repair or replace damage, deterioration, de-
            fects, or wear and tear on exterior body parts, windshields and other glass,
            wheels, and paint, that existed prior to the accident and that is eliminated as a
            result of the repair or replacement of property damaged in the loss.
        f. The actual cash value is determined by the market value, age, and condition
            of the vehicle at the time the loss occurs.
   3.   No deductible will apply to a loss to window glass when the glass is repaired in-
        stead of replaced.
   4.   Duplicate recovery for the same elements of damages is not permitted.
   5.   The following additional limits of liability apply to Pet Injury coverage:
        a. The most we will pay for all damages in any one loss is a total of $1,000 re-
            gardless of the number of dogs or cats involved.
        b. If your pet dies in, or as a direct result of, a covered loss, we will provide a
            death benefit of $1,000, less any payment we made toward veterinary ex-
            penses for your pet.
        c. No deductible shall apply to this coverage.

   PAYMENT OF LOSS

   We may, at our option:
   1. pay for the loss in money; or
   2. repair or replace the damaged or stolen property.

   At our expense, we may return any recovered stolen property to you or to the address
   shown on the declarations page, with payment for any damage resulting from the theft.
   We may keep all or part of the property at the agreed or appraised value.
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   We may settle any loss with you or the owner or lienholder of the property.

   NO BENEFIT TO BAILEE

   Coverage under this Part IV will not directly or indirectly benefit any carrier or other
   bailee for hire.

   LOSS PAYABLE CLAUSE

   Payment under this Part IV for a loss to a covered auto will be made according to your
   interest and the interest of any lienholder shown on the declarations page or desig-
   nated by you. However, if the covered auto is not a total loss, we may make payment
   to you and the repairer of the auto.

   The lienholder’s interest will not be protected:
   1. where fraud, misrepresentation, material omission, or intentional damage resulting
         in a denial of coverage by us has been committed by or at the direction of you or
         any person seeking coverage; or
   2. where the loss is otherwise not covered under the terms of this policy.
   If this policy is cancelled, nonrenewed or voided, the interest of any lienholder under this
   agreement will also terminate.

   OTHER SOURCES OF RECOVERY

   If other sources of recovery also cover the loss, we will pay only our share of the loss.
   Our share is the proportion that our limit of liability bears to the total of all applicable
   limits. However, any insurance we provide for a non-owned auto, or trailer not shown
   on the declarations page, will be excess over any other collectible source of recovery
   including, but not limited to:
   1. any coverage provided by the owner of the non-owned auto or trailer;
   2. any other applicable physical damage insurance; and
   3. any other source of recovery applicable to the loss.

   For any loss to which Uninsured/Underinsured Motorist Property Damage Coverage
   (from this or any other policy) and this coverage both apply, you may choose the cov-
   erage from which damages will be paid. You may recover under both coverages, but
   only if:
   1. neither one by itself is sufficient to cover the loss;
   2. you pay the higher deductible amount (but you do not have to pay both deduct-
        ibles); and
   3. you will not recover more than the actual damages.

   APPRAISAL

   If we cannot agree with you on the amount of a loss, then we or you may demand
   an appraisal of the loss. Within 30 days of any demand for an appraisal, each party
   shall appoint a competent appraiser and shall notify the other party of that appraiser’s
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   identity. The appraisers will determine the amount of loss. If they fail to agree, the dis-
   agreement will be submitted to a qualified umpire chosen by the appraisers. If the two
   appraisers are unable to agree upon an umpire within 15 days, we or you may request
   that a judge of a court of record, in the county where you reside, select an umpire. The
   appraisers and umpire will determine the amount of loss. The amount of loss agreed
   to by both appraisers, or by one appraiser and the umpire, will be binding. You will pay
   your appraiser’s fees and expenses. We will pay our appraiser’s fees and expenses. All
   other expenses of the appraisal, including payment of the umpire if one is selected, will
   be shared equally between us and you. Neither we nor you waive any rights under this
   policy by agreeing to an appraisal.

                     PART V—ROADSIDE ASSISTANCE COVERAGE

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay for our authorized service represen-
   tative to provide the following services when necessary due to a covered emergency:
   1. towing of a covered disabled auto to the nearest qualified repair facility; and
   2. labor on a covered disabled auto at the place of disablement.

   If a covered disabled auto is towed to any place other than the nearest qualified repair
   facility, you will be responsible for any additional charges incurred.

   ADDITIONAL DEFINITIONS

   When used in this Part V:
   1. “Covered disabled auto” means a covered auto for which this coverage has
      been purchased that sustains a covered emergency.
   2. “Covered emergency” means a disablement that is a result of:
      a. mechanical or electrical breakdown;
      b. battery failure;
      c. insufficient supply of fuel, oil, water, or other fluid;
      d. flat tire;
      e. lock-out; or
      f. entrapment in snow, mud, water or sand within 100 feet of a road or highway.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART V.

   Coverage under this Part V will not apply to:
   1. more than three covered emergencies for any single covered auto in a six-month
      period;
   2. the cost of purchasing parts, fluid, lubricants, fuel, or replacement keys, or the labor
      to make replacement keys;
   3. installation of products or material not related to the disablement;
   4. labor not related to the disablement;
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   5.    labor on a covered disabled auto for any time period in excess of 60 minutes per
         disablement;
   6.    towing or storage related to impoundment, abandonment, illegal parking, or other
         violations of law;
   7.    assistance with jacks, levelers, airbags or awnings;
   8.    labor or repair work performed at a service station, garage, or repair shop;
   9.    auto storage charges;
   10.   disablement that occurs on roads not regularly maintained, sand beaches, open
         fields, or areas designated as not passable due to construction, weather, or earth
         movement;
   11.   mounting or removing of snow tires or chains;
   12.   tire repair;
   13.   disablement that results from an intentional or willful act or action by you, a rela-
         tive, or the operator of a covered disabled auto;
   14.   any covered auto while being used in connection with ride-sharing activity;
   15.   any covered auto while being used in connection with a personal vehicle shar-
         ing program; or
   16.   a trailer.

   UNAUTHORIZED SERVICE PROVIDER

   When service is rendered by a provider in the business of providing roadside assistance
   and towing services, other than one of our authorized service representatives, we will
   pay only reasonable charges, as determined by us, for:
   1. towing of a covered disabled auto to the nearest qualified repair facility; and
   2. labor on a covered disabled auto at the place of disablement;
   which is necessary due to a covered emergency.

   OTHER INSURANCE

   Any coverage provided under this Part V for service rendered by an unauthorized ser-
   vice provider will be excess over any other collectible insurance or towing protection
   coverage.

                 PART VI—DUTIES IN CASE OF AN ACCIDENT OR LOSS

   For coverage to apply under this policy, you or the person seeking coverage must
   promptly report each accident or loss even if you or the person seeking coverage is not
   at fault. You or the person seeking coverage must provide us with all accident or loss
   information, including time, place, and how the accident or loss happened. You or the
   person seeking coverage must also obtain and provide us the names and addresses of
   all persons involved in the accident or loss, the names and addresses of any witnesses,
   and the license plate numbers of the vehicles involved.

   If you or the person seeking coverage cannot identify the owner or operator of a vehicle
   involved in the accident, or if theft or vandalism has occurred, you or the person seeking
   coverage must notify the police within 24 hours or as soon as practicable.
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   A person seeking coverage must:
   1. cooperate with us in any matter concerning a claim or lawsuit;
   2. provide any written proof of loss we may reasonably require;
   3. allow us to take signed and recorded statements, including sworn statements and
       examinations under oath, which we may conduct outside the presence of you or
       any other person seeking coverage, and answer all reasonable questions we may
       ask as often as we may reasonably require;
   4. promptly call to notify us about any claim or lawsuit and send us any and all legal
       papers relating to the claim or suit;
   5. attend hearings and trials as we require;
   6. take reasonable steps after a loss to protect the covered auto, or any other vehicle
       for which coverage is sought, from further loss. We will pay reasonable expenses
       incurred in providing that protection. If failure to provide such protection results in
       further loss, any additional damages will not be covered under this policy;
   7. allow us to have the damaged covered auto, or any other damaged vehicle for
       which coverage is sought, inspected and appraised before its repair or disposal;
   8. submit to medical examinations at our expense by doctors we select as often as
       we may reasonably require; and
   9. authorize us to obtain medical and other records reasonably related to the injury or
       damage asserted.

                            PART VII—GENERAL PROVISIONS

   POLICY PERIOD AND TERRITORY

   This policy applies only to accidents and losses occurring during the policy period
   shown on the declarations page and that occur within a state, territory, or possession
   of the United States of America, or a province or territory of Canada, or while a covered
   auto or trailer shown on the declarations page is being transported between their ports.
   Coverage is also extended to accidents and losses occurring in Mexico, but only to the
   extent described under the following “Mexico Coverage—Limited” provision.

   MEXICO COVERAGE—LIMITED

   Coverage for your covered auto under this policy is extended to accidents occurring in
   Mexico, but only if within 25 miles of the United States border. This limited extension of
   coverage only applies to infrequent trips into Mexico that do not exceed 10 days at any
   one time. “Infrequent trips” means less than 10 trips into Mexico during the 30-day pe-
   riod leading up to and including the actual date of loss. Any insurance that we may pro-
   vide under this provision shall be excess over any other valid and collectible insurance.

                              WARNING—READ CAREFULLY

   Auto accidents in Mexico are subject to the laws of Mexico—NOT the laws of the United
   States of America. Unlike the United States, the Republic of Mexico considers an auto
   accident a CRIMINAL OFFENSE as well as a civil matter.
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   In some cases, the coverage under this section may NOT be recognized by Mexican
   authorities, and the company may not be allowed to implement this coverage at all in
   Mexico. You should consider purchasing auto coverage from a licensed Mexican insur-
   ance company before driving into Mexico.

   The coverage under this section does not apply to trips into Mexico that exceed 25
   miles from the boundary of the United States of America.

   CHANGES

   This policy contract, your insurance application (which is made a part of this policy as if
   attached hereto), the declarations page, and all endorsements to this policy issued by
   us, contain all the agreements between you and us. Subject to the following, the terms
   of this policy may not be changed or waived except by an endorsement issued by us.

   The premium for this policy is based on information we received from you and other
   sources. You agree to cooperate with us in determining if this information is correct
   and complete, and to promptly notify us if it changes during the policy period. If this
   information is determined by us to be incorrect, incomplete, or if it changes during the
   policy period, you agree that we may adjust your policy information and premium ac-
   cordingly. Changes that may result in a premium adjustment are contained in our rates
   and rules. These include, but are not limited to, you or a relative obtaining a driver’s
   license or operator’s permit, or changes in:
   1. the number, type or use classification of covered autos;
   2. the persons who regularly operate a covered auto;
   3. the persons of legal driving age residing in your household;
   4. the residents in your household;
   5. an operator’s marital status;
   6. your mailing address and your residence address;
   7. the principal garaging address of any covered auto;
   8. coverage, deductibles, or limits of liability; or
   9. rating territory or discount eligibility.

   The coverage provided in your policy may be changed only by the issuance of a new
   policy or an endorsement by us. However, if during the policy period we broaden any
   coverage afforded under the current edition of your policy without additional premium
   charge, that change will automatically apply to your policy as of the date the coverage
   change is implemented in your state.

   If you ask us to delete a vehicle from this policy, no coverage will apply to that vehicle
   as of the date and time you ask us to delete it.

   DUTY TO REPORT CHANGES

   You must promptly report to us all changes, including additions and deletions, in policy
   information. This includes, but is not limited to, changes in:
   1. your mailing address or your residence address;
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   2.   the principal garaging address of any covered auto;
   3.   the residents in your household;
   4.   the persons of legal driving age residing in your household;
   5.   the persons who regularly operate a covered auto;
   6.   an operator’s marital status; or
   7.   the driver’s license or operator’s permit status of you or a relative.

   OUR DUTIES IN THE EVENT OF A CLAIM

   1. Within 15 days after we receive your written notice of claim, we must:
      a. acknowledge receipt of the claim. If our acknowledgement of the claim is not in
           writing, we will keep a record of the date, method, and content of our acknowl-
           edgement;
      b. begin any investigation of the claim; and
      c. specify the information you must provide. We may request more information if
           during the investigation of the claim such additional information is necessary.
   2. After we receive the information we request, we must notify you in writing whether
      the claim will be paid or has been denied, or whether more information is needed:
      a. within 15 business days; or
      b. within 30 days if we have reason to believe the loss resulted from arson.
   3. If we do not approve payment of your claim or we require more time for processing
      your claim, we must:
      a. give the reason(s) for denying your claim; or
      b. give the reason(s) we require more time to process your claim. We must either
           approve or deny your claim within 45 days after our requesting more time.
   4. In the event of a weather-related catastrophe or major natural disaster, as defined
      by the Texas Department of Insurance, the claim handling deadlines as stated
      above are extended for an additional 15 days.
   5. Loss payment:
      a. If we notify you that we will pay your claim, or part of your claim, we must pay
           within five business days after we notify you.
      b. If payment of your claim or part of your claim requires the performance of an
           act by you, we must pay within five business days after the date you perform
           the act.
   6. Notice of settlement of liability claim:
      a. We will notify you in writing of any initial offer to compromise or settle a claim
           against you under the liability section of this policy. We will give you notice
           within 10 days after the date the offer is made.
      b. We will notify you in writing of any settlement of a claim against you under the
           liability section of this policy. We will give you notice within 30 days after the
           date of the settlement.

   SETTLEMENT OF CLAIMS

   We may use estimating, appraisal, or injury evaluation systems to assist us in adjust-
   ing claims under this policy and to assist us in determining the amount of damages,
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   expenses, or loss payable under this policy. Such systems may be developed by us or a
   third party and may include computer software, databases, and specialized technology.

   TERMS OF POLICY CONFORMED TO STATUTES

   If any provision of this policy fails to conform to the statutes of the state listed on your
   application as your residence, the provision shall be deemed amended to conform to
   such statutes. All other provisions shall be given full force and effect. Any disputes as to
   the coverages provided or the provisions of this policy shall be governed by the law of
   the state listed on your application as your residence.

   TRANSFER OF INTEREST

   The rights and duties under this policy may not be transferred or assigned to another
   person without our written consent. However, if a named insured shown on the dec-
   larations page dies, this policy will provide coverage until the end of the policy period
   for the legal representative of the named insured, while acting as such, and for persons
   covered under this policy on the date of the named insured’s death.

   FRAUD OR MISREPRESENTATION

   This policy was issued in reliance upon the information provided on your insurance
   application. We may void this policy at any time, including after the occurrence of an
   accident or loss, if you:
   1. made incorrect statements or representations to us with regard to any material fact
        or circumstance;
   2. concealed or misrepresented any material fact or circumstance; or
   3. engaged in fraudulent conduct;
   at the time of application. This means that we will not be liable for any claims or dam-
   ages that would otherwise be covered.

   Any changes we make at your request to this policy after inception will be made in reli-
   ance upon information you provide. If you:
   1. make incorrect statements or representations to us with regard to any material fact
        or circumstance;
   2. conceal or misrepresent any material fact or circumstance; or
   3. engage in fraudulent conduct;
   in connection with a requested change we may void the policy or reform it as it existed
   immediately prior to the requested change. We may do this at any time, including after
   the occurrence of an accident or loss.

   When we have not voided or reformed the policy, we may still deny coverage for an
   accident or loss if you, in connection with the policy application, in connection with any
   requested change, or at any time during the policy period, have concealed or misrepre-
   sented any material fact or circumstance or engaged in fraudulent conduct and that con-
   cealment, misrepresentation, or fraudulent conduct was material to a risk we assumed.
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   We may deny coverage for an accident or loss if you or a person seeking coverage has
   concealed or misrepresented any material fact or circumstance, or engaged in fraudu-
   lent conduct, in connection with the presentation or settlement of a claim.

   PAYMENT OF PREMIUM AND FEES

   If your initial premium payment is by check, draft, electronic funds transfer, or simi-
   lar form of remittance, coverage under this policy is conditioned on payment to us by
   the financial institution. If the financial institution upon presentment does not honor the
   check, draft, electronic funds transfer, or similar form of remittance, this policy may, at
   our option, be deemed void from its inception. This means we will not be liable under
   this policy for any claims or damages that would otherwise be covered if the check,
   draft, electronic funds transfer, or similar form of remittance had been honored by the
   financial institution. Any action by us to present the remittance for payment more than
   once shall not affect our right to void this policy.

   CANCELLATION

   You may cancel this policy during the policy period by calling or writing us and stating
   the future date you wish the cancellation to be effective.

   We may cancel this policy during the policy period by mailing a notice of cancellation
   to the named insured shown on the declarations page at the last known address ap-
   pearing in our records.

   Notice of cancellation will be mailed at least 10 days before the effective date of cancel-
   lation.

   We may cancel this policy for any reason if the notice is mailed within the first 59 days
   of the initial policy period.

   After this policy is in effect for more than 59 days, or if this is a renewal or continuation
   policy, we may cancel only for one or more of the following reasons:
   1. nonpayment of premium;
   2. you submit a fraudulent claim; or
   3. loss of driving privileges through suspension or revocation of an operator’s license
        issued to you, any driver in your household, or any regular operator of a covered
        auto, however, we will not cancel if you complete a Named Driver Exclusion Elec-
        tion for the principal operator whose license has been suspended or revoked.

   We may not cancel based solely on the fact that you are an elected official.

   Proof of mailing will be sufficient proof of notice. If this policy is cancelled, coverage will
   not be provided as of the effective date and time shown in the notice of cancellation. For
   purposes of cancellation, this policy is neither severable nor divisible. Any cancellation
   will be effective for all coverages for all persons and all vehicles.
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   CANCELLATION REFUND

   Upon cancellation, you may be entitled to a premium refund. However, our making or
   offering of a refund is not a condition of cancellation. We charge a fully earned policy fee
   for each policy period.

   If this policy is cancelled, any refund due will be computed on a daily pro rata basis and
   mailed no later than 15 days after the effective date of cancellation.

   NONRENEWAL

   If neither we nor one of our affiliates offers to renew or continue this policy, we will mail
   notice of nonrenewal to the named insured shown on the declarations page at the
   last known address appearing in our records. Proof of mailing will be sufficient proof of
   notice. Notice will be mailed at least 30 days before the end of the policy period. We may
   not refuse to renew solely because of the age of an insured person. We may also not
   refuse to renew based solely on the fact that you are an elected official.

   If the policy period is other than one year, we will only have the right to refuse to renew
   at each anniversary of the original effective date.

   AUTOMATIC TERMINATION

   If we or an affiliate offers to renew or continue this policy and you or your representative
   does not accept, this policy will automatically terminate at the end of the current policy
   period. Failure to pay the required renewal or continuation premium when due will mean
   that you have not accepted our offer.

   If you obtain other insurance on a covered auto, any similar insurance provided by this
   policy will terminate as to that covered auto on the effective date of the other insurance.

   If a covered auto is sold or transferred to someone other than you or a relative, any
   insurance provided by this policy will terminate as to that covered auto on the effective
   date of the sale or transfer.

   LEGAL ACTION AGAINST US

   We may not be sued unless there is full compliance with all the terms of this policy.

   We may not be sued for payment under Part I—Liability To Others until the obligation of
   an insured person under Part I to pay is finally determined either by judgment after trial
   against that person or by written agreement of the insured person, the claimant, and us.
   No one will have any right to make us a party to a lawsuit to determine the liability of an
   insured person.


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   We may not be sued for contractual benefits under Part II(A)—Medical Payments Cov-
   erage, Part II(B)—Personal Injury Protection Coverage, Part III—Uninsured/Underin-
   sured Motorist Coverage, or Part IV—Damage to a Vehicle unless suit is filed within
   three years of the date of the accident or loss.

   If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any
   purpose, including evidence for any civil or criminal proceeding.

   OUR RIGHTS TO RECOVER PAYMENT

   We are entitled to the rights of recovery that the insured person to whom payment was
   made has against another, to the extent of our payment. That insured person may be
   required to sign documents related to the recovery and must do whatever else we re-
   quire to help us exercise those recovery rights, and do nothing after an accident or loss
   to prejudice those rights.

   However, we may not assert rights of recovery:
   1. against any person who was using a covered auto with your permission for any
      payment made under Part IV—Damage To A Vehicle; or
   2. for any payment made under Part II(B)—Personal Injury Protection Coverage. This
      provision does not apply, and we will have a right of subrogation and a claim against
      a person causing or contributing to an accident if, on the date of the loss, financial
      responsibility as required by Chapter 601, Transportation Code, has not been es-
      tablished for a motor vehicle involved in the accident and operated by that person.

   When an insured person has been paid by us and also recovers from another, the
   amount recovered will be held by the insured person in trust for us and reimbursed to
   us to the extent of our payment. If we are not reimbursed, we may pursue recovery of
   that amount directly against that insured person.

   If an insured person recovers from another without our written consent, the insured
   person’s right to payment under any affected coverage will no longer exist.

   If we elect to exercise our rights of recovery against another, we will also attempt to
   recover any deductible incurred by an insured person under this policy unless we are
   specifically instructed by that person not to pursue the deductible. We have no obligation
   to pursue recovery against another for any loss not covered by this policy.

   We reserve the right to compromise or settle the deductible and property damage
   claims against the responsible parties for less than the full amount. We also reserve the
   right to incur reasonable expenses and attorney fees in pursuit of the recovery.

   If the total recovery is less than the total of our payment and the deductible, we will re-
   duce reimbursement of the deductible based on the proportion that the actual recovery
   bears to the total of our payment and the deductible. A proportionate share of collection

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   expenses and attorney fees incurred in connection with these recovery efforts will also
   reduce reimbursement of the deductible.

   These provisions will be applied in accordance with state law.

   JOINT AND INDIVIDUAL INTERESTS

   If there is more than one named insured on this policy, any named insured may cancel
   or change this policy. The action of one named insured will be binding on all persons
   provided coverage under this policy.

   BANKRUPTCY

   The bankruptcy or insolvency of an insured person will not relieve us of any obligations
   under this policy.

   MUTUALS—MEMBERSHIP AND VOTING NOTICE

   The insured is notified that by virtue of this policy, the insured is a member of the
   Progressive County Mutual Insurance Company and is entitled as is lawfully provided in
   the charter, constitution, or bylaws to only one vote, regardless of the number of policies
   owned, either in person or by proxy in any or all meetings of said company. The Annual
   Meetings are held in its Home Office at Austin, Texas, on the last Saturday in May, in
   each year, at 10 o’clock AM.

   This policy is issued subject to the constitution and bylaws and all amendments thereto
   of the company, which shall form a part of this policy.

   MUTUALS—PARTICIPATION CLAUSE WITHOUT CONTINGENT LIABILITY

   No Contingent Liability: This policy is nonassessable. The policyholder is a member
   of the company and shall participate, to the extent and upon the conditions fixed and
   determined by the Board of Directors in accordance with the provisions of law, in the
   distribution of dividends so fixed and determined.




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                      9611A TX 0815




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Vehicle Valuation Report
Prepared For Progressive Group of Insurance Companies (800) 321-9843



Claim Information

Claim Number               Policy Number          Loss Type                          Owner
XX-XXXXXXX-01                                     COMPREHENSI                        BLAISE WILLIAMS
                                                  VE                                    HOUSTON, TX 77035


Loss Date                  Reported Date          Valuation Report Date               Valuation Report ID              Version Number
08/25/2017                 08/29/2017             09/20/2017                          1007129513                       1

Vehicle Information

Year           Make        Model                                          Location                                Mileage
2016           GMC         Yukon SLE 4 Door Utility 116" WB 5.3L          TX 77035                                19,773 miles
                           8 Cyl Flexible A RWD
Ext Color                  License                                        VIN                                     Title History
Summit White               HMS3154, Texas                                 1GKS1AKC7GR470149 No

Valuation Summary

Loss Vehicle Adjustments
Adjustments specific to your vehicle

                            Base Value =      $38,156.94
                               Condition -        $47.68
                           Prior Damage            $0.00
                      Aftermarket Parts +          $0.00
                         Refurbishment +           $0.00
                            Title History -        $0.00

                          Market Value =      $38,109.26      Settlement Value:
 Settlement Adjustments
  Adjustments specific to your policy                         $37,864.26
                         Deductible -            $245.00

                      Settlement Value =      $37,864.26




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Loss Vehicle Detail
Loss vehicle: 2016 GMC Yukon | SLE 4 Door Utility 116" WB | 5.3L 8 Cyl Flexible A RWD


Standard Equipment
Exterior

Assist steps, Black with chrome strip                                                             Fog lamps

Glass, deep-tinted                                                                                Headlamps, halogen projector

Liftgate, rear manual                                                                             Luggage rack side rails, roof-mounted, Black

Mirrors, outside heated power-adjustable, body-color, manual-folding includes spotter
                                                                                                  Tire carrier, lockable outside spare winch-type mounted under frame at rear
mirror

Tire, spare P265/70R17 all-season, blackwall                                                      Tires, P265/65R18 all-season, blackwall

Wheel, full-size spare 17" (43.2 cm) steel                                                        Wheels, 18" x 8.5" (45.7 cm x 21.6 cm) bright machined aluminum

Windshield style, acoustic laminated glass                                                        Wiper, rear

Wipers, front rain-sensing, intermittent


Interior

Antenna, integral in rear quarter glass                                                            Assist handles, all seats

Audio system feature, Bose premium 9-speaker system with subwoofer in center console               Audio system feature, CD player

Audio system, 8" Diagonal Color Touch Screen with IntelliLink AM/FM/SiriusXM with USB
ports and auxiliary jack, 8" Diagonal Color Touch Screen with USB ports and auxiliary
jack. Includes new text message alert sand Siri Eyes Free functionality through voice
command, Bluetooth streaming audio for music and most phones, hands-free smartphone
                                                                                        Cargo net
integration, Pandora Internet radio and voice-activated technology for radio and phone.
Has an articulating screen with hidden storage and includes 5 USB ports and 1 auxiliary
jack (Includes 2 USB ports when (AZ3) bench seat is ordered. See "gmtotalconnect.com"
for phone compatibility information.)
Climate control, tri-zone automatic with individual climate settings for driver, right-front       Console, floor with storage area, cup holders (Not available with (AZ3) 40/20/40 split
passenger and rear passengers                                                                      -bench front seats.)

Cruise control, electronic with set and resume speed                                               Defogger, rear-window electric

Display, driver instrument information enhanced, multi-color                                       Door locks, power programmable with lockout protection

Floor covering, color-keyed carpeting                                                              Floor mats, color-keyed carpeted first and second row, removable

Lighting, interior with dome light driver- and passenger-side door switch with delayed entry
feature, cargo lights, door handle or Remote Keyless Entry-activated illuminated entry and Mirror, inside rearview manual day/night
map lights in front and second seat positions

Power outlet, 110-volt, 1.1 Amp, 150 Watt                                                          Radio, HD

Remote keyless entry                                                                               Remote vehicle start includes extended range Remote Keyless Entry

Seats, front bucket with Premium Cloth passenger seat includes power fore/aft, power
recline and Power lumbar, 10-way power driver seat includes 6-way power cushion, 2-way Seats, second row 60/40 split-folding bench, manual
power lumbar control and power recline
                                                                                                   SiriusXM Satellite Radio is standard on nearly all 2016 GM models. Enjoy a 3-month
                                                                                                   All Access trial subscription with over 150 channels including commercial-free
                                                                                                   music, plus sports, news and entertainment. Plus listening on the app and online is
                                                                                                   included, so you'll hear the best SiriusXM has to offer, anywhere life takes you.
                                                                                                   Welcome to the world of SiriusXM. (If you decide to continue service after your trial,
Seats, third row manual 60/40 split-folding bench, fold flat
                                                                                                   the subscription plan you choose will automatically renew thereafter and you will be
                                                                                                   charged according to your chosen payment method at then-current rates. Fees and
                                                                                                   taxes apply. To cancel you must call us at 1-866-635-2349. See our Customer
                                                                                                   Agreement for complete terms at www.siriusxm.com. All fees and programming
                                                                                                   subject to change.)
                                                                                                   Steering wheel controls, mounted audio and cruise controls and Driver Information
Steering column, Tilt-Wheel, manual
                                                                                                   Center controls

Steering wheel, leather-wrapped                                                                    Theft-deterrent system, electrical, unauthorized entry




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Windows, power all express down, front express up


Mechanical

Alternator, 150 amps                                                                       Differential, heavy-duty locking rear

Exhaust, aluminized stainless-steel muffler and tailpipe                                   GVWR, 7100 lbs. (3221 kg) (Standard on 2WD models.)

Powertrain grade braking                                                                   Rear axle, 3.08 ratio

Rear wheel drive                                                                           Steering, power

Suspension package, premium smooth ride                                                    Suspension, front coil-over-shock with stabilizer bar

Suspension, rear multi-link with coil springs                                              Tools, mechanical jack and wheel wrench stored in rear quarter trim

                                                                                           Trailering equipment, heavy-duty includes trailering hitch platform, 7-wire harness
Tow/haul mode selector, button located at end of shift lever                               with independent fused trailering circuits mated to a 7-way sealed connector and 2"
                                                                                           trailering receiver

Safety
Air bags, frontal and side-impact for driver and front passenger driver inboard seat-
mounted side-impact and head curtain side-impact for all rows in outboard seating
positions (Always use safety belts and child restraints. Children are safer when properly  Brakes, 4-wheel antilock, 4-wheel disc
secured in a rear seat in the appropriate child restraint. See the Owner's Manual for more
information.)
                                                                                           LATCH system (Lower Anchors and Top tethers for Children), for child safety seats;
Daytime Running Lamps, with automatic exterior lamp control                                lower anchors and top tethers located in all second row seating positions, top tethers
                                                                                           located in third row seating positions
                                                                                           OnStar Guidance plan for 6 months including Automatic Crash Response, Stolen
OnStar Basic plan for 5 years including limited RemoteLink mobile app services, Vehicle
                                                                                           Vehicle Assistance, Roadside Assistance, Turn-by-Turn Navigation, Vehicle
Diagnostics and Dealer Maintenance Notification (Basic Plan available for 5 years from
                                                                                           Diagnostics and more (trial excludes Hands-Free Calling) (Visit www.onstar.com for
the date of vehicle delivery, and is transferable. Does not include Emergency, Security or
                                                                                           vehicle availability, details and system limitations. Services may vary by model and
Navigation services.)
                                                                                           conditions.)
OnStar with 4G LTE provides a built-in Wi-Fi hotspot to connect to the internet at 4G LTE
speeds, includes 3GB or 3 months OnStar Data Trial (whichever comes first) (Available
                                                                                          Parking assist front and rear
4G LTE Wi-Fi requires compatible mobile device, active OnStar subscription and data
plan after trial.)
Passenger Sensing System sensor indicator inflatable restraint, front passenger/child
presence detector (Always use safety belts and child restraints. Children are safer when
                                                                                           Rear vision camera
properly secured in a rear seat in the appropriate child restraint. See the Owner's Manual
for more information.)

StabiliTrak, stability control system with brake assist, includes Traction Control         Tire pressure monitoring system




Loss Vehicle Base Value
Loss vehicle: 2016 GMC Yukon | SLE 4 Door Utility 116" WB | 5.3L 8 Cyl Flexible A RWD




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Comparable Vehicle Information

     Search Radius used for this valuation: 75 miles from loss vehicle zip/postal code.
            Typical Mileage for this vehicle: 19,000 miles

                                                                                          Distance From
 # Vehicle Description                                          Mileage     Location       Loss Vehicle              Price                            Adjusted Value
   2016 GMC YUKON SLE 4D SUV 8 5.3NORMAL                                                                          $41,836.00
 1                                                               18,128      77338           27 miles                                                      $39,625.03
   FLEXIBLE A 2WD                                                                                                  Sold Price
       2016 GMC YUKON SLE 4D SUV 8 5.3NORMAL                                                                      $38,879.00
 2                                                               23,173      77521           32 miles                                                      $37,735.99
       FLEXIBLE A 2WD                                                                                              Sold Price
       2016 GMC YUKON SLE 4D SUV 8 5.3NORMAL                                                                      $37,995.00
 3                                                               23,582      77079           11 miles                                                      $36,894.71
       FLEXIBLE A 2WD                                                                                               List Price
       2016 GMC YUKON SLE 4D SUV 8 5.3NORMAL                                                                      $42,515.00
 4                                                               20,352      77037           18 miles                                                      $38,077.70
       FLEXIBLE A 2WD                                                                                               List Price
       2016 GMC YUKON SLE 4D SUV 8 5.3NORMAL                                                                      $41,988.00
 5                                                                9,051      77065           20 miles                                                      $36,822.05
       FLEXIBLE A 2WD                                                                                               List Price
       2016 GMC YUKON SLE 4D SUV 8 5.3NORMAL                                                                      $44,329.00
 6                                                               17,000      77521           32 miles                                                      $39,786.14
       FLEXIBLE A 2WD                                                                                               List Price

                                                                                                                                 Base Value:             $38,156.94




Loss Vehicle Adjustments
Loss vehicle: 2016 GMC Yukon | SLE 4 Door Utility 116" WB | 5.3L 8 Cyl Flexible A RWD

Condition Adjustments

Condition Adjustment: -$47.68                       Overall Condition:    2.93-Good                      Typical Vehicle Condition: 3.00


Category                                Condition                                                       Comments

Interior
CARPET                                  3 Good                                                          Minimal wear.
SEATS                                   3 Good                                                          Minimal wear.
GLASS                                   2 Fair                                                          Damage is repairable.
HEADLINER                               3 Good                                                          No damage.
DOORS/INTERIOR PANELS                   3 Good                                                          Non permanent soils/stains.
DASH/CONSOLE                            3 Good                                                          Non permanent marks/soils/stains.
Exterior
VINYL/CONVERTIBLE TOP                   Typical
PAINT                                   3 Good                                                          Isolated small scratch/scrape.
BODY                                    3 Good                                                          Isolated damage. No dents/creases/
TRIM                                    3 Good                                                          Minimal surface scratches/stone chips.
Mechanical
TRANSMISSION                            3 Good                                                          Some oil/fluid buildup around covers/gaskets.
ENGINE                                  3 Good                                                          Belts/hoses firm. Some oil buildup around
                                                                                                        covers/gaskets
Tire                                    3 Good                                                          8, 8, 8, 8

Typical condition reflects a vehicle that is in ready-for-sale condition and reflects normal wear and tear for that vehicle type /
age.



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Comments:




Title History Adjustment
Description                                                                                                                                          Adjustment Amount

The title history deduction is an average deduction that represents a variety of title history types such as flood, hail, collision, etc. and
                                                                                                                                                                  $0.00
is not specific to a particular title type. In addition, the degree of the damage that resulted in a title history is assumed to be typical.



Comparable Vehicles

Loss vehicle: 2016 GMC Yukon | SLE 4 Door Utility 116" WB | 5.3L 8 Cyl Flexible A RWD



  1      2016 GMC YUKON SLE 4D SUV 8 5.3 NORMAL FLEXIBLE A2WD                                                                           Sold Price: $41,836.00

VIN                             Stock No                              Listing Date                     ZIP/Postal Code            Distance from Loss Vehicle
1GKS1AKC6GRXXXXXX                                                     07/22/2017                       77338                      27 miles

Source
                                                              Adjustments                                 Loss Vehicle            This Vehicle                   Amount
DEALER SALE - BUILDSHEET - J.D.
POWER                                                         Mileage                                     19,773                  18,128                       -$300.06
                                                              Equipment
                                                                CONVENIENCE PACKAGE                       No                      Yes                          -$634.07
                                                               WHEELS, 20" X 9" (50.8 CM X 22.9 No                                Yes                        -$1,216.05
                                                              CM) POLISHED ALUMINUM
                                                                LPO, WHEEL LOCKS                          No                      Yes                           -$60.79

                                                                                                                                  Total Adjustments:         -$2,210.97
                                                                                                                                  Adjusted Price: $39,625.03
Comparable Vehicle Package Details:
CONVENIENCE PACKAGE
Comparable Vehicle Option Details:
WHEELS, 20" X 9" (50.8 CM X 22.9 CM) POLISHED ALUMINUM, LPO, WHEEL LOCKS




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  2      2016 GMC YUKON SLE 4D SUV 8 5.3 NORMAL FLEXIBLE A2WD                                                      Sold Price: $38,879.00

VIN                         Stock No              Listing Date                    ZIP/Postal Code            Distance from Loss Vehicle
1GKS1AKC1GRXXXXXX                                 06/07/2017                      77521                      32 miles

Source
                                           Adjustments                               Loss Vehicle            This Vehicle                   Amount
DEALER SALE - BUILDSHEET - J.D.
POWER                                      Mileage                                   19,773                  23,173                        $576.34
                                           Equipment
                                             CONVENIENCE PACKAGE                     No                      Yes                          -$589.25
                                            WHEELS, 20" X 9" (50.8 CM X 22.9 No                              Yes                        -$1,130.10
                                           CM) POLISHED ALUMINUM

                                                                                                             Total Adjustments:         -$1,143.01
                                                                                                             Adjusted Price: $37,735.99
Comparable Vehicle Package Details:
CONVENIENCE PACKAGE
Comparable Vehicle Option Details:
WHEELS, 20" X 9" (50.8 CM X 22.9 CM) POLISHED ALUMINUM




  3      2016 GMC YUKON SLE 4D SUV 8 5.3 NORMAL FLEXIBLE A2WD                                                       List Price: $37,995.00

VIN                         Stock No              Listing Date                    ZIP/Postal Code            Distance from Loss Vehicle
1GKS1AEC4GR227880                                 09/18/2017                      77079                      11 miles

Source
                                           Adjustments                               Loss Vehicle            This Vehicle                   Amount
DEALER WEB LISTING -
BUILDSHEET - VAST.COM                      Projected Sold Adjustment                                                                    -$1,703.00
MAC HAIK CHEVROLET                         Mileage                                   19,773                  23,582                        $602.71
11711 KATY FREEWAY
                                                                                                             Total Adjustments:         -$1,100.29
HOUSTON TX 77079
                                                                                                             Adjusted Price: $36,894.71
281-406-3525




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  4      2016 GMC YUKON SLE 4D SUV 8 5.3 NORMAL FLEXIBLE A2WD                                                        List Price: $42,515.00

VIN                         Stock No              Listing Date                    ZIP/Postal Code            Distance from Loss Vehicle
1GKS1AKC7GR150202           20322                 09/16/2017                      77037                      18 miles

Source
                                           Adjustments                               Loss Vehicle            This Vehicle                   Amount
DEALER WEB LISTING -
BUILDSHEET - AUTOTRADER.COM                Projected Sold Adjustment                                                                    -$1,905.00
FINCHER'S TEXAS BEST AUTO &                Mileage                                   19,773                  20,352                        $102.52
TRUCK SALES                                Equipment
8245 NORTH FWY                               CONVENIENCE PACKAGE                     No                      Yes                          -$615.49
HOUSTON TX 77037                             HD TRAILERING PACKAGE                   No                      Yes                          -$379.42
866-779-3680                                 ENHANCED DRIVER ALERT                   No                      Yes                          -$459.50
                                           PACKAGE
                                            WHEELS, 20" X 9" (50.8 CM X 22.9 No                              Yes                        -$1,180.41
                                           CM) POLISHED ALUMINUM

                                                                                                             Total Adjustments:         -$4,437.30
                                                                                                             Adjusted Price: $38,077.70
Comparable Vehicle Package Details:
CONVENIENCE PACKAGE

HD TRAILERING PACKAGE

ENHANCED DRIVER ALERT PACKAGE
Comparable Vehicle Option Details:
WHEELS, 20" X 9" (50.8 CM X 22.9 CM) POLISHED ALUMINUM




  5      2016 GMC YUKON SLE 4D SUV 8 5.3 NORMAL FLEXIBLE A2WD                                                        List Price: $41,988.00

VIN                         Stock No              Listing Date                    ZIP/Postal Code            Distance from Loss Vehicle
1GKS1AKC0GR476813           B019240A              08/16/2017                      77065                      20 miles

Source
                                           Adjustments                               Loss Vehicle            This Vehicle                   Amount
DEALER WEB LISTING -
BUILDSHEET - CARS.COM                      Projected Sold Adjustment                                                                    -$1,882.00
BECK & MASTEN NORTH                        Mileage                                   19,773                  9,051                      -$1,510.34
11300 FM 1960 RD W                         Equipment

HOUSTON TX 77065                             CONVENIENCE PACKAGE                     No                      Yes                          -$607.85
                                            WHEELS, 20" X 9" (50.8 CM X 22.9 No                              Yes                        -$1,165.76
281-469-5222
                                           CM) POLISHED ALUMINUM

                                                                                                             Total Adjustments:         -$5,165.95
                                                                                                             Adjusted Price: $36,822.05
Comparable Vehicle Package Details:
CONVENIENCE PACKAGE
Comparable Vehicle Option Details:
WHEELS, 20" X 9" (50.8 CM X 22.9 CM) POLISHED ALUMINUM




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  6      2016 GMC YUKON SLE 4D SUV 8 5.3 NORMAL FLEXIBLE A2WD                                                        List Price: $44,329.00

VIN                         Stock No              Listing Date                     ZIP/Postal Code            Distance from Loss Vehicle
1GKS1AKC4GR172044           STK172044             09/15/2017                       77521                      32 miles

Source
                                           Adjustments                                Loss Vehicle            This Vehicle                   Amount
DEALER WEB LISTING -
BUILDSHEET - AUTOTRADER.COM                Projected Sold Adjustment                                                                     -$1,987.00
BAYTOWN GMC BUICK                          Mileage                                    19,773                  17,000                       -$511.93
4411 EAST FWY                              Equipment

BAYTOWN TX 77521                             CONVENIENCE PACKAGE                      No                      Yes                          -$641.74
                                            WHEELS, 20" X 9" (50.8 CM X 22.9 No                               Yes                        -$1,230.75
                                           CM) POLISHED ALUMINUM
                                             LPO, CARGO SHADE, (DEALER-               No                      Yes                          -$171.44
                                           INSTALLED)

                                                                                                              Total Adjustments:         -$4,542.86
                                                                                                              Adjusted Price: $39,786.14
Comparable Vehicle Package Details:
CONVENIENCE PACKAGE
Comparable Vehicle Option Details:
WHEELS, 20" X 9" (50.8 CM X 22.9 CM) POLISHED ALUMINUM, LPO, CARGO SHADE, (DEALER-INSTALLED)




Sub-Model Comparison
Sub-Model Description                                Configuration                                                                  Original MSRP

2016 GMC Yukon SLE                                   4 Door Utility 116" WB 5.3L 8 Cyl Flexible RWD                                     $48,165.00




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Vehicle Valuation Methodology Explanation
WorkCenter Total Loss was built through a joint partnership between J.D. Power and Associates vehicle valuation division Power
Information Network (P.I.N.) and Mitchell International, a leading provider of claims processing solutions to private passenger insurers.

WorkCenter Total Loss produces accurate and easy-to-understand vehicle valuations via this five step process:
Step 1 - Locate Comparable Vehicles


        Locate vehicles similar to the loss vehicle in the same market area. WorkCenter Total Loss finds these vehicles in
AutoTrader.com, Cars.com, Vast.com and directly from dealerships.

Step 2 - Adjust Comparable Vehicles
Make adjustments to the prices of the comparable vehicles. The comparable vehicles are identical to the loss vehicle except where
adjustments are itemized. There are several types of comparable vehicle adjustments
           • Projected Sold Adjustment - an adjustment to reflect consumer purchasing behavior (negotiating a different price than the
             listed price).


           • Mileage Adjustment - an adjustment for differences in mileage between the comparable vehicle and the loss vehicle.
           • Equipment- adjustments for differences in equipment between the comparable vehicle (e.g. equipment packages and
             options) and the loss vehicle.
Step 3 - Calculate Base Vehicle Value
The base vehicle value is calculated by averaging the adjusted prices of the comparable vehicles.

Step 4 - Calculate Loss Vehicle Adjustments
There are four types of loss vehicle adjustments:

           • Condition Adjustment:
             Adjustments to account for the condition of the loss vehicle prior to the loss.

           • Prior Damage Adjustment:
             Adjustments to account for any prior damage present on the loss vehicle prior to the loss.

           • After Market Part Adjustment:
             Adjustments to account for any after market parts present on the loss vehicle prior to the loss.

           • Refurbishment Adjustment:
             Adjustments to account for any refurbishment performed on the loss vehicle prior to the loss.
Step 5 - Calculate the Market Value
The Market Value is calculated by applying the loss vehicle adjustments to the base value.




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                              Specialty Comparable Valuation Report
                                                                             Prepared for: Progressive Group of Insurance Companies
                                                                                                                              (800) 321-9843



Summary


Claim Information

    Claim Number:    XX-XXXXXXX-01                                                 Version #:     2
    Policy Number:                                                 Coverage Type of Loss:         COMPREHENSIVE
           Owner:    BLAISE WILLIAMS                                              Loss Date:      08/25/2017
         Address:                                                            Reported Date:       08/29/2017
                     HOUSTON, TX 77035                              Valuation Report Date:        10/01/2017 09:57:15
Owner Home Phone:                                                      Valuation Report ID:       1007162622




Vehicle Information

      Loss Vehicle: 2016 GMC Yukon SLE 4 Door Utility                               Location:     TX 77035
                    116" WB 5.3L 8 Cyl Flexible A RWD                         Exterior Color:     Summit White
              VIN: 1GKS1AKC7GR470149                                          License Plate:      HMS3154, Texas
          Mileage: 19,773 miles




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Loss Vehicle Detail
Loss vehicle: 2016 GMC Yukon SLE 4 Door Utility 116" WB 5.3L 8 Cyl Flexible A RWD


Standard Equipment




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Exterior
Assist steps, Black with chrome strip                                                Fog lamps

Glass, deep-tinted                                                                   Headlamps, halogen projector

Liftgate, rear manual                                                                Luggage rack side rails, roof-mounted, Black
Mirrors, outside heated power-adjustable, body-color, manual-folding includes Tire carrier, lockable outside spare winch-type mounted under frame at
spotter mirror                                                                rear
Tire, spare P265/70R17 all-season, blackwall                                         Tires, P265/65R18 all-season, blackwall

Wheel, full-size spare 17" (43.2 cm) steel                                           Wheels, 18" x 8.5" (45.7 cm x 21.6 cm) bright machined aluminum

Windshield style, acoustic laminated glass                                           Wiper, rear

Wipers, front rain-sensing, intermittent


Interior
Antenna, integral in rear quarter glass                                               Assist handles, all seats
Audio system feature, Bose premium 9-speaker system with subwoofer in
                                                                                      Audio system feature, CD player
center console
Audio system, 8" Diagonal Color Touch Screen with IntelliLink
AM/FM/SiriusXM with USB ports and auxiliary jack, 8" Diagonal Color Touch
Screen with USB ports and auxiliary jack. Includes new text message alert
sand Siri Eyes Free functionality through voice command, Bluetooth streaming
audio for music and most phones, hands-free smartphone integration, Pandora Cargo net
Internet radio and voice-activated technology for radio and phone. Has an
articulating screen with hidden storage and includes 5 USB ports and 1
auxiliary jack (Includes 2 USB ports when (AZ3) bench seat is ordered. See
"gmtotalconnect.com" for phone compatibility information.)
Climate control, tri-zone automatic with individual climate settings for driver,      Console, floor with storage area, cup holders (Not available with (AZ3)
right-front passenger and rear passengers                                             40/20/40 split-bench front seats.)
Cruise control, electronic with set and resume speed                                  Defogger, rear-window electric

Display, driver instrument information enhanced, multi-color                          Door locks, power programmable with lockout protection

Floor covering, color-keyed carpeting                                                 Floor mats, color-keyed carpeted first and second row, removable
Lighting, interior with dome light driver- and passenger-side door switch with
delayed entry feature, cargo lights, door handle or Remote Keyless Entry-             Mirror, inside rearview manual day/night
activated illuminated entry and map lights in front and second seat positions
Power outlet, 110-volt, 1.1 Amp, 150 Watt                                             Radio, HD

Remote keyless entry                                                                  Remote vehicle start includes extended range Remote Keyless Entry
Seats, front bucket with Premium Cloth passenger seat includes power
fore/aft, power recline and Power lumbar, 10-way power driver seat includes 6- Seats, second row 60/40 split-folding bench, manual
way power cushion, 2-way power lumbar control and power recline
                                                                                      SiriusXM Satellite Radio is standard on nearly all 2016 GM models. Enjoy
                                                                                      a 3-month All Access trial subscription with over 150 channels including
                                                                                      commercial-free music, plus sports, news and entertainment. Plus
                                                                                      listening on the app and online is included, so you'll hear the best
                                                                                      SiriusXM has to offer, anywhere life takes you. Welcome to the world of
Seats, third row manual 60/40 split-folding bench, fold flat                          SiriusXM. (If you decide to continue service after your trial, the
                                                                                      subscription plan you choose will automatically renew thereafter and you
                                                                                      will be charged according to your chosen payment method at then-current
                                                                                      rates. Fees and taxes apply. To cancel you must call us at 1-866-635-
                                                                                      2349. See our Customer Agreement for complete terms at
                                                                                      www.siriusxm.com. All fees and programming subject to change.)
                                                                                      Steering wheel controls, mounted audio and cruise controls and Driver
Steering column, Tilt-Wheel, manual
                                                                                      Information Center controls
Steering wheel, leather-wrapped                                                       Theft-deterrent system, electrical, unauthorized entry

Windows, power all express down, front express up




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Mechanical
Alternator, 150 amps                                                               Differential, heavy-duty locking rear

Exhaust, aluminized stainless-steel muffler and tailpipe                           GVWR, 7100 lbs. (3221 kg) (Standard on 2WD models.)

Powertrain grade braking                                                           Rear axle, 3.08 ratio

Rear wheel drive                                                                   Steering, power

Suspension package, premium smooth ride                                            Suspension, front coil-over-shock with stabilizer bar

Suspension, rear multi-link with coil springs                                      Tools, mechanical jack and wheel wrench stored in rear quarter trim
                                                                                   Trailering equipment, heavy-duty includes trailering hitch platform, 7-wire
Tow/haul mode selector, button located at end of shift lever                       harness with independent fused trailering circuits mated to a 7-way sealed
                                                                                   connector and 2" trailering receiver


Safety
Air bags, frontal and side-impact for driver and front passenger driver inboard
seat-mounted side-impact and head curtain side-impact for all rows in
outboard seating positions (Always use safety belts and child restraints.          Brakes, 4-wheel antilock, 4-wheel disc
Children are safer when properly secured in a rear seat in the appropriate
child restraint. See the Owner's Manual for more information.)
                                                                                   LATCH system (Lower Anchors and Top tethers for Children), for child
Daytime Running Lamps, with automatic exterior lamp control                        safety seats; lower anchors and top tethers located in all second row
                                                                                   seating positions, top tethers located in third row seating positions
                                                                              OnStar Guidance plan for 6 months including Automatic Crash Response,
OnStar Basic plan for 5 years including limited RemoteLink mobile app
                                                                              Stolen Vehicle Assistance, Roadside Assistance, Turn-by-Turn Navigation,
services, Vehicle Diagnostics and Dealer Maintenance Notification (Basic Plan
                                                                              Vehicle Diagnostics and more (trial excludes Hands-Free Calling) (Visit
available for 5 years from the date of vehicle delivery, and is transferable.
                                                                              www.onstar.com for vehicle availability, details and system limitations.
Does not include Emergency, Security or Navigation services.)
                                                                              Services may vary by model and conditions.)
OnStar with 4G LTE provides a built-in Wi-Fi hotspot to connect to the internet
at 4G LTE speeds, includes 3GB or 3 months OnStar Data Trial (whichever
                                                                                Parking assist front and rear
comes first) (Available 4G LTE Wi-Fi requires compatible mobile device, active
OnStar subscription and data plan after trial.)
Passenger Sensing System sensor indicator inflatable restraint, front
passenger/child presence detector (Always use safety belts and child
                                                                                   Rear vision camera
restraints. Children are safer when properly secured in a rear seat in the
appropriate child restraint. See the Owner's Manual for more information.)
StabiliTrak, stability control system with brake assist, includes Traction Control Tire pressure monitoring system




Condition Adjustments

    Condition Adjustment:          $0.00                       Overall Condition: 2.93-Good                                 Typical Vehicle Condition:         3.00




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Category                                                                            Condition              Comments

Interior

       CARPET                                                                        3 Good                Minimal wear.

       SEATS                                                                         3 Good                Minimal wear.

       HEADLINER                                                                     3 Good                No damage.

       DOORS/INTERIOR PANELS                                                         3 Good                Non permanent soils/stains.

       DASH/CONSOLE                                                                  3 Good                Non permanent marks/soils/stains.

       GLASS                                                                          2 Fair               Damage is repairable.

Exterior

       TRIM                                                                          3 Good                Minimal surface scratches/stone chips.

       VINYL/CONVERTIBLE TOP                                                         Typical

       PAINT                                                                         3 Good                Isolated small scratch/scrape.

       BODY                                                                          3 Good                Isolated damage. No dents/creases/

Mechanical

       ENGINE                                                                        3 Good                Belts/hoses firm. Some oil buildup around
                                                                                                           covers/gaskets
       TRANSMISSION                                                                  3 Good                Some oil/fluid buildup around covers/gaskets.

Tire                                                                                 3 Good                8, 8, 8, 8

Typical condition reflects a vehicle that is in ready-for-sale condition and reflects normal wear and tear for that vehicle type / age.


Comments:




Prior Damage Adjustments

Description                                                                                                                                   Adjustment Amount



                                                                                                                   Base Value:                         $38,298.03
                                                                                                  Prior Damage Adjustment:                                   $0.00
                                                                                        Condition (LV 2.93 to Typical 3.00):                               -$65.42


                                                                                                                Market Value:                          $38,232.61

                                                                                                                    Deductible:                          -$245.00

                                                                                                                  Final Value:                         $37,987.61

  Valuation Notes:




  Market Sample Records:




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Comparable 1

                                  Date: 10/01/2017                                                        Seller: Covert Buick GMC Austin
                               Contact: Dealer Listing                                                 Location: 78759
                               Stock #: B171595A                                                Exterior Color:
                        Phone Number: (844) 257-7866                                                    Mileage: 18,644 miles
                             Condition: Typical                                                            Price: $42,980.00
                                   VIN: 1GKS1AKC2GR174469
                               Vehicle: 2016 GMC Yukon SLE 4 Door
                                        Utility 5.3L 8 Cyl Gas A 2WD
                            Equipment: Standard, LPO-22" (55.9 Cm) 6-
                                       Spoke Premium Silver Ultra-Bright
                                       Machined Wheels, LPO-Assist
                                       Step Kit-Chrome, Sparkling Silver
                                       Metallic, Window Tint - SUV


Adjustments
Adjustment Description                                                                                                                 Adjustment Amount
Mileage                                                                                                                                              -$212.54
LPO-22" (55.9 Cm) 6-Spoke Premium Silver Ultra-Bright Machined                                                                                     -$2,664.00
Wheels
LPO-Assist Step Kit-Chrome                                                                                                                           -$534.00
Sparkling Silver Metallic                                                                                                                            -$351.00
Window Tint - SUV                                                                                                                                    -$230.00
Adjusted Price:                                                                                                                                    $38,988.46

Comparable 2

                                  Date: 10/01/2017                                                        Seller: BMW of West Houston
                               Contact: Dealer Listing                                                 Location: 77449
                               Stock #: BGR437403                                               Exterior Color:
                        Phone Number: (855) 257-1723                                                    Mileage: 18,384 miles
                             Condition: Typical                                                            Price: $41,981.00
                                   VIN: 1GKS1AKC6GR437403
                               Vehicle: 2016 GMC Yukon SLE 4 Door
                                        Utility 5.3L 8 Cyl Gas A 2WD
                            Equipment: Standard, HD Trailering Package,
                                       LPO-Assist Step Kit-Chrome,
                                       Sparkling Silver Metallic, Wheels-
                                       22" X 9" (50.8 Cm X 22.9) 6-
                                       Spoke Chrome, Window Tint -
                                       SUV


Adjustments
Adjustment Description                                                                                                                 Adjustment Amount
Mileage                                                                                                                                              -$255.40
HD Trailering Package                                                                                                                                -$504.00
LPO-Assist Step Kit-Chrome                                                                                                                           -$521.00
Sparkling Silver Metallic                                                                                                                            -$343.00
Wheels-22" X 9" (50.8 Cm X 22.9) 6-Spoke Chrome                                                                                                    -$2,520.00
Window Tint - SUV                                                                                                                                    -$230.00
Adjusted Price:                                                                                                                                    $37,607.60


   DISCLAIMER
  THIS VALUATION HAS BEEN RESEARCHED AND PROVIDED BASED SOLELY ON THE INFORMATION PROVIDED BY
  THE INSURANCE COMPANY, AND IS TO BE USED FOR ITS INTENDED PURPOSE ONLY.



  THE RESEARCH AND CALCULATIONS CONDUCTED CAN CONSIST OF MARKET RESEARCH OF DEALERSHIP
  INVENTORIES, AUTOMOTIVE APPRAISAL GUIDES AND DIRECTORIES, AND MARKET SURVEYS OF SIMILAR
  COMPARABLE VEHICLES. INFORMATION RECEIVED BY OR PROVIDED TO MITCHELL IS BELIEVED TO BE
  RELIABLE BUT NO RESPONSIBILITY IS ASSUMED BY MITCHELL OR ITS AGENTS FOR ERRORS, INACCURACIES OR
  OMISSIONS OF THAT INFORMATION.


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SINCE ADJUSTMENTS ARE MADE TO EACH COMPARABLE TO BRING IT IN LINE WITH THE LOSS VEHICLE, EQUAL
WEIGHTING FACTORS HAVE BEEN USED IN AVERAGING THE FAIR MARKET VALUE.




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                              Specialty Comparable Valuation Report
                                                                             Prepared for: Progressive Group of Insurance Companies
                                                                                                                              (800) 321-9843



Summary


Claim Information

    Claim Number:    XX-XXXXXXX-01                                                 Version #:     3
    Policy Number:                                                 Coverage Type of Loss:         COMPREHENSIVE
           Owner:    BLAISE WILLIAMS                                              Loss Date:      08/25/2017
         Address:                                                            Reported Date:       08/29/2017
                     HOUSTON, TX 77035                              Valuation Report Date:        10/05/2017 15:17:34
Owner Home Phone:                                                      Valuation Report ID:       1007177582




Vehicle Information

      Loss Vehicle: 2016 GMC Yukon SLE 4 Door Utility                               Location:     TX 77035
                    116" WB 5.3L 8 Cyl Flexible A RWD                         Exterior Color:     Summit White
              VIN: 1GKS1AKC7GR470149                                          License Plate:      HMS3154, Texas
          Mileage: 19,773 miles




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Loss Vehicle Detail
Loss vehicle: 2016 GMC Yukon SLE 4 Door Utility 116" WB 5.3L 8 Cyl Flexible A RWD


Standard Equipment




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Exterior
Assist steps, Black with chrome strip                                                Fog lamps

Glass, deep-tinted                                                                   Headlamps, halogen projector

Liftgate, rear manual                                                                Luggage rack side rails, roof-mounted, Black
Mirrors, outside heated power-adjustable, body-color, manual-folding includes Tire carrier, lockable outside spare winch-type mounted under frame at
spotter mirror                                                                rear
Tire, spare P265/70R17 all-season, blackwall                                         Tires, P265/65R18 all-season, blackwall

Wheel, full-size spare 17" (43.2 cm) steel                                           Wheels, 18" x 8.5" (45.7 cm x 21.6 cm) bright machined aluminum

Windshield style, acoustic laminated glass                                           Wiper, rear

Wipers, front rain-sensing, intermittent


Interior
Antenna, integral in rear quarter glass                                               Assist handles, all seats
Audio system feature, Bose premium 9-speaker system with subwoofer in
                                                                                      Audio system feature, CD player
center console
Audio system, 8" Diagonal Color Touch Screen with IntelliLink
AM/FM/SiriusXM with USB ports and auxiliary jack, 8" Diagonal Color Touch
Screen with USB ports and auxiliary jack. Includes new text message alert
sand Siri Eyes Free functionality through voice command, Bluetooth streaming
audio for music and most phones, hands-free smartphone integration, Pandora Cargo net
Internet radio and voice-activated technology for radio and phone. Has an
articulating screen with hidden storage and includes 5 USB ports and 1
auxiliary jack (Includes 2 USB ports when (AZ3) bench seat is ordered. See
"gmtotalconnect.com" for phone compatibility information.)
Climate control, tri-zone automatic with individual climate settings for driver,      Console, floor with storage area, cup holders (Not available with (AZ3)
right-front passenger and rear passengers                                             40/20/40 split-bench front seats.)
Cruise control, electronic with set and resume speed                                  Defogger, rear-window electric

Display, driver instrument information enhanced, multi-color                          Door locks, power programmable with lockout protection

Floor covering, color-keyed carpeting                                                 Floor mats, color-keyed carpeted first and second row, removable
Lighting, interior with dome light driver- and passenger-side door switch with
delayed entry feature, cargo lights, door handle or Remote Keyless Entry-             Mirror, inside rearview manual day/night
activated illuminated entry and map lights in front and second seat positions
Power outlet, 110-volt, 1.1 Amp, 150 Watt                                             Radio, HD

Remote keyless entry                                                                  Remote vehicle start includes extended range Remote Keyless Entry
Seats, front bucket with Premium Cloth passenger seat includes power
fore/aft, power recline and Power lumbar, 10-way power driver seat includes 6- Seats, second row 60/40 split-folding bench, manual
way power cushion, 2-way power lumbar control and power recline
                                                                                      SiriusXM Satellite Radio is standard on nearly all 2016 GM models. Enjoy
                                                                                      a 3-month All Access trial subscription with over 150 channels including
                                                                                      commercial-free music, plus sports, news and entertainment. Plus
                                                                                      listening on the app and online is included, so you'll hear the best
                                                                                      SiriusXM has to offer, anywhere life takes you. Welcome to the world of
Seats, third row manual 60/40 split-folding bench, fold flat                          SiriusXM. (If you decide to continue service after your trial, the
                                                                                      subscription plan you choose will automatically renew thereafter and you
                                                                                      will be charged according to your chosen payment method at then-current
                                                                                      rates. Fees and taxes apply. To cancel you must call us at 1-866-635-
                                                                                      2349. See our Customer Agreement for complete terms at
                                                                                      www.siriusxm.com. All fees and programming subject to change.)
                                                                                      Steering wheel controls, mounted audio and cruise controls and Driver
Steering column, Tilt-Wheel, manual
                                                                                      Information Center controls
Steering wheel, leather-wrapped                                                       Theft-deterrent system, electrical, unauthorized entry

Windows, power all express down, front express up




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Mechanical
Alternator, 150 amps                                                               Differential, heavy-duty locking rear

Exhaust, aluminized stainless-steel muffler and tailpipe                           GVWR, 7100 lbs. (3221 kg) (Standard on 2WD models.)

Powertrain grade braking                                                           Rear axle, 3.08 ratio

Rear wheel drive                                                                   Steering, power

Suspension package, premium smooth ride                                            Suspension, front coil-over-shock with stabilizer bar

Suspension, rear multi-link with coil springs                                      Tools, mechanical jack and wheel wrench stored in rear quarter trim
                                                                                   Trailering equipment, heavy-duty includes trailering hitch platform, 7-wire
Tow/haul mode selector, button located at end of shift lever                       harness with independent fused trailering circuits mated to a 7-way sealed
                                                                                   connector and 2" trailering receiver


Safety
Air bags, frontal and side-impact for driver and front passenger driver inboard
seat-mounted side-impact and head curtain side-impact for all rows in
outboard seating positions (Always use safety belts and child restraints.          Brakes, 4-wheel antilock, 4-wheel disc
Children are safer when properly secured in a rear seat in the appropriate
child restraint. See the Owner's Manual for more information.)
                                                                                   LATCH system (Lower Anchors and Top tethers for Children), for child
Daytime Running Lamps, with automatic exterior lamp control                        safety seats; lower anchors and top tethers located in all second row
                                                                                   seating positions, top tethers located in third row seating positions
                                                                              OnStar Guidance plan for 6 months including Automatic Crash Response,
OnStar Basic plan for 5 years including limited RemoteLink mobile app
                                                                              Stolen Vehicle Assistance, Roadside Assistance, Turn-by-Turn Navigation,
services, Vehicle Diagnostics and Dealer Maintenance Notification (Basic Plan
                                                                              Vehicle Diagnostics and more (trial excludes Hands-Free Calling) (Visit
available for 5 years from the date of vehicle delivery, and is transferable.
                                                                              www.onstar.com for vehicle availability, details and system limitations.
Does not include Emergency, Security or Navigation services.)
                                                                              Services may vary by model and conditions.)
OnStar with 4G LTE provides a built-in Wi-Fi hotspot to connect to the internet
at 4G LTE speeds, includes 3GB or 3 months OnStar Data Trial (whichever
                                                                                Parking assist front and rear
comes first) (Available 4G LTE Wi-Fi requires compatible mobile device, active
OnStar subscription and data plan after trial.)
Passenger Sensing System sensor indicator inflatable restraint, front
passenger/child presence detector (Always use safety belts and child
                                                                                   Rear vision camera
restraints. Children are safer when properly secured in a rear seat in the
appropriate child restraint. See the Owner's Manual for more information.)
StabiliTrak, stability control system with brake assist, includes Traction Control Tire pressure monitoring system




Condition Adjustments

    Condition Adjustment:          $0.00                       Overall Condition: 2.93-Good                                 Typical Vehicle Condition:         3.00




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Category                                                                            Condition              Comments

Interior

       DOORS/INTERIOR PANELS                                                         3 Good                Non permanent soils/stains.

       DASH/CONSOLE                                                                  3 Good                Non permanent marks/soils/stains.

       GLASS                                                                          2 Fair               Damage is repairable.

       SEATS                                                                         3 Good                Minimal wear.

       CARPET                                                                        3 Good                Minimal wear.

       HEADLINER                                                                     3 Good                No damage.

Exterior

       TRIM                                                                          3 Good                Minimal surface scratches/stone chips.

       BODY                                                                          3 Good                Isolated damage. No dents/creases/

       PAINT                                                                         3 Good                Isolated small scratch/scrape.

       VINYL/CONVERTIBLE TOP                                                         Typical

Mechanical

       ENGINE                                                                        3 Good                Belts/hoses firm. Some oil buildup around
                                                                                                           covers/gaskets
       TRANSMISSION                                                                  3 Good                Some oil/fluid buildup around covers/gaskets.

Tire                                                                                 3 Good                8, 8, 8, 8

Typical condition reflects a vehicle that is in ready-for-sale condition and reflects normal wear and tear for that vehicle type / age.


Comments:




Prior Damage Adjustments

Description                                                                                                                                   Adjustment Amount



                                                                                                                  Base Value:                          $39,839.69
                                                                                                  Prior Damage Adjustment:                                   $0.00
                                                                                        Condition (LV 2.93 to Typical 3.00):                               -$63.77


                                                                                                                Market Value:                          $39,775.92

                                                                                                                    Deductible:                          -$245.00

                                                                                                                  Final Value:                         $39,530.92

  Valuation Notes:
  ***MRA, see online diary***




  Market Sample Records:




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Comparable 1

                                 Date: 10/05/2017                                                       Seller: Texas Direct Auto
                              Contact: Dealer Listing                                                Location: 77477
                              Stock #: 10272068                                               Exterior Color:
                        Phone Number: (888) 820-0591                                                  Mileage: 31,490 miles
                            Condition: Typical                                                           Price: $40,030.00
                                  VIN: 1GKS1AKC8GR236179
                              Vehicle: 2016 GMC Yukon SLE 4 Door
                                       Utility 5.3L 8 Cyl Gas A 2WD
                           Equipment: Standard, Wheels 20" X 9" (50.8
                                      Cm X 22.9 Cm) Polished
                                      Aluminum, Convenience Package


Adjustments
Adjustment Description                                                                                                               Adjustment Amount
Mileage                                                                                                                                           $1,765.59
Wheels 20" X 9" (50.8 Cm X 22.9 Cm) Polished Aluminum                                                                                            -$1,160.00
Convenience Package                                                                                                                                -$605.00
Adjusted Price:                                                                                                                                 $40,030.59

Comparable 2

                                 Date: 10/05/2017                                                       Seller: Reliable Chevrolet TX
                              Contact: Dealer Listing                                                Location: 75080
                              Stock #: GR268536                                               Exterior Color:
                        Phone Number: (866) 367-2360                                                  Mileage: 11,666 miles
                            Condition: Typical                                                           Price: $42,791.00
                                  VIN: 1GKS1AKC1GR268536
                              Vehicle: 2016 GMC Yukon SLE 4 Door
                                       Utility 5.3L 8 Cyl Gas A 2WD
                           Equipment: Standard, Wheels 20" X 9" (50.8
                                      Cm X 22.9 Cm) Polished
                                      Aluminum, HD Trailering Package


Adjustments
Adjustment Description                                                                                                               Adjustment Amount
Mileage                                                                                                                                          -$1,388.22
Wheels 20" X 9" (50.8 Cm X 22.9 Cm) Polished Aluminum                                                                                            -$1,240.00
HD Trailering Package                                                                                                                              -$514.00
Adjusted Price:                                                                                                                                 $39,648.78


   DISCLAIMER
  THIS VALUATION HAS BEEN RESEARCHED AND PROVIDED BASED SOLELY ON THE INFORMATION PROVIDED BY
  THE INSURANCE COMPANY, AND IS TO BE USED FOR ITS INTENDED PURPOSE ONLY.



  THE RESEARCH AND CALCULATIONS CONDUCTED CAN CONSIST OF MARKET RESEARCH OF DEALERSHIP
  INVENTORIES, AUTOMOTIVE APPRAISAL GUIDES AND DIRECTORIES, AND MARKET SURVEYS OF SIMILAR
  COMPARABLE VEHICLES. INFORMATION RECEIVED BY OR PROVIDED TO MITCHELL IS BELIEVED TO BE
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  SINCE ADJUSTMENTS ARE MADE TO EACH COMPARABLE TO BRING IT IN LINE WITH THE LOSS VEHICLE, EQUAL
  WEIGHTING FACTORS HAVE BEEN USED IN AVERAGING THE FAIR MARKET VALUE.




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                                                                                                                              Exhibit B
                                                                                                                               Page 22
